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EXHIBIT C

 

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Any No. 30723
No. 17-0161

IN THE ILLINOIS APPELLATE COURT

FIRST JUDICIAL DISTRICT
PATRICK .]. DOHERTY )
Plaintij‘.`r/Appellam, )
)
vs. ) Appellate Court No. 17-0161

WASH]NGTON FEDERAL BANK FOR ) Appeal from the Circuit Court of

SAVINGS & JOHN GEMBARA, ) Cook County, Law Division.
- individually and as president of ) _]udge Mu]my 16 L 6379
Washington F ederal Bank. JAN TRAN )
CR()WLEY & LAM_B ` )
Defendants/Appe!lees )

NOTlCE OF FILING

TO: CROWLEY AND LAMB
Attorney at Law
221 N LASALLE-,
Suite 1550
Chicago, IL 60602

On November 6, 2017 at the attache was filed at the Appellate Court of County, and
present the jttaehed pieadi : Plaint' r~ pp ,,,lants Brief , , f

Attomey Signature: ' /) (

RO()F OF SERVICE BY MAIL

   
 

The undersigned states that on November 6, 2017, I served this Notice, together with the
documents referred to therein, by mailing a copy to the above married persons at their respective
addresses and depositing same in the U.S. Mail at 7826 West 103rd Street, Palos Hills, Illinois
60465, before 4:00 p.rn., With proper postage prepaid. Under pensing provided by law

pursuant to Section 1-109 of the Code of Civil Procedure ertify tha t s atements set forth in
this instrument are true and correct. /-}
y

\./ _' _»'
PATRICK DOHERTY /
Attomeys at Law
Attorneys for Defendant
7836 West 103rd street
Palos Hills, lllinois 60465
Telephone NO: (708) 598-6626
Facsimile No: (708) 598-8778

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NO. 17-0161

 

IN THE
ILLINOIS APPELLATE COURT
FIRST ,]UDICIAL DISTRICT

 

Patricl< J. Doherty,
Plaintiff-Appellant,

Appeal from Circuit Court of Cook
County, i]linois, Law Division

Case No. 16 L 6379

Judge Presiding
Washington Federal Bank for Savings, John
Gembara, individually and as president of
Washingto Federal Bank for Savings, Jan
Tran and Crowley & Larnb LLC

)
)
)
)
)
)
) The Hon. Thornas J. Mulroy
)
)
)
)
)
Defendants-Appellees. )

 

BRIEF AND ARGUMENT FOR PLAINTIFF-APPELLANT
PATRICK J. DOHERTY

Patrick J . Doherty

Attorney No. 30723

Patrick J. Doherty, LLC

7326 w. 103rd street

Palos Hills, Illinois 60465
(708) 598-6626
patrickjdoherty@ameritech.net

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II. NATURE OF CASE

The plaintiff, Patricl_r J. Doherty, (“Doherty”) filed a multi~count Amended
Cornplaint against defendants, namley Washington Federal Bank for Savings (“Bank”),
Crowley & Larnb, LLC (“Crowley & Larnb”), John Gembara, the Banl<’s President,
(“Gembara”) and J an Tran (“Tran“) (collectively “Defendants”) for fraud, forgery,
malicious procescution and imposition of sactions which the trial court held was barred
by the doctrine of res judicata

Only the Bank filed a lawsuit aginst Doherty in case entitled Washington Federal
Bankfor Savings v. Patrick J. Doherty, et al, Case NO. 2014 L 2411 (“Law Action”).
Doherty filed answers and an affirmative defense of forgery to the Banl<’s lawsuit and
informed Bank’s counsel Crowley & Lamb of said forgery of the loan document subject
to the Law Action. To prove the forgery of the loan documents and the fraud perpetrated
on the Court, Doherty retained a handwritting expert Upon receipt of the expert’s report,
jDoherty forwarded the report 'toiC'ro'wleyi& Lanib. Crowley & Lamb filed aiMotion to
Voluntary Dismiss the Case thereafter. An order was entered voluntarily dismissing the
Law Action, without prejudice, without an ajudication on the merits or a ruling by the
Court the Bank’s claims and/or Doherty’s affirmative defense, and without Doherty
having an opportunity to assert his own claims against the Defendants after proof of the
forgery. Thereafter, Doherty filed the lawsuit subject to this appeal against the
Defendants, naming three (3) additional parties not included in the Law Action, The trial
court, however, granted Defendants’ Motion to Disrniss, denied Plaintiff’s Motion to

Reconsider and this appeal followed

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III. JURISDICTION

The Court has jurisdiction over this appeal pursuant to Illinois Supreme Court

Rule 303.
IV. ISSUES PRESENTED FOR REVIEW

l. Does a Plaintiff’s voluntary non-suit, without prejudice, adjudicate
Defendant’s affirmative defense and/or causes of actions of fraud and forgery?

2. Whether res judicata is a sword or a shield?

V. STATEMENT OF FACTS

On or about March 4, 2014, Washington Federal Bank for Savings (“Banl<”) filed
a lawsuit against Doherty and other defendants in Cook County entitled Washingtt)n
Federal Bank For Savings v. Fatrick f. Doherty, et al., Case No. 2014 l_, 2411 (“Law
Action”). ln the Complaint filed in the Law Action, the Bank and its counsel, Crowley &
Lamb, LLC (“Crowley & Lamb”) alleged that Doherty defaulted on his alleged Guaranty
of the alleged promissory note dated April 17, 2006 in the original amount of
3400,000.00 (“Note”) and the forged extensions thereof (coilectively “Loan
Documents”), a copy of the Complaint is attached hereto and incorporated herein as
Exhibit “A”. (C 256-307). ln response thereto, Doherty file his Answer and Affirrnative
Defense, a copy of his Answer and Affirmative Defenses is attached hereto and
incorporated herein as Exhibit “B”. ( 312-315). lrrespective of Doherty’s allegations of
relating to the forgery of his signature on the Loan Documents, Bank proceeded with a
Motion for Surnmary supported by Affidavit. ( C 383-386).

On March 19, 2015 and May 4, 2015 the Court in the Law Action allowed

Doherty to take the depositions of key Witnesses. Without producing the deponents,

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namely John Gembara and lane Tran to sit for their Court ordered deposition, the Bank
filed a Motion to Voluntarily Dismiss its Claims against Doherty and Worth Conversion,
LLC (“Worth”) due the fact that Doherty retained an expert, at his own cost, to determine
the authenticity of the Loan Documents with the retained expert finding forgery
specically “The signature in question on ltem Q-l were photocopied and pasted into
place to create the document identified as ltem K-l”. (C 367-368). Almost immediately

_ prior to the presentation of Bank’s Motion to Disrniss, Doherty forward to Bank’s
counsel an expert report explicitly stating that his signature was forged by Bank on the
Loan Documents and his intent to file suit as a result thereof. On June 15, 2015, the
Court in the Law Action granted Bank’s Motion for a Voluntary Non-Suit and entered an
order dismissing the Law Action, without prejudice, and without an adjudication of the
Doherty’s affirmative defenses, a copy of the June 15, 2015 Court Order is attached
hereto and incorporated herein as Exhibit “C”. (C 392).

t _ t ln'the*l;aw Aition, the E)unt(si)idirected against Doherty related to his alleged
Guaranty of the forged Note. The Guaranty was a wholly distinct document and
completely unrelated to the Guaranty of the other named defendant in the Law Action._
Notably, Doherty filed an answer and an affirmative defense to the counts directed at him
which remained pending and undetermined Rather than have the Court adjudicate
Doherty’s affirmative defense, respond to written discovery, and produce the deponents,
the Bank voluntarily dismissed the count(s) asserted against Doherty for his alleged
breach of his Guaranty, without prejudice

Thereafter, Doherty filed instant lawsuit, which was subsequently amended

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(“Amended Complaint”) naming the Bank, Crowley & Lamb, John Gembara, the Bank’s
President, (“Gembara”) and loan officer l an Tran (“Tran”) (collectively “Defendants”) as
Defendants. (C187-216). Doherty asserted claims of fraud, forgery, malicious
prosections, and imposition of sanctions aginst the Defendants. (C187-216). ln response,
the Defendants’ filed a 2-619 Motion to Dismiss the Amended Complaint. (C 225-337).
The Court, without setting a briefing schedule and only after a brief oral argument, ruled
that the instant action was barred by the doctrine of res judicata, a copy of the October
12, 2016 Court Order (“Court Order”) is attached hereto and incorporated herein as
Exhibit “’D. (C 341-345).

On November 9, 2016, Doherty filed a Motion to Recondiser the Court Order
(“Motion to Reconsider"). (C346-397). The Court ordered a briefing schedule and set
the Motion to Reconsider for a Clerk’s Status on December 5, 2016. (C 411). With a
Defen`dants’ having filed a Response to the Motion to Reconsider and the Plaintiff having
submittting to the Court his Reply thereto, which isn’t part of the record, the Court denied
the Motion to Reconsider. (C 412).

VI. STANDARD OF REVIEW

I. Motion to Dismiss

The standard of review of a motion to dismiss under sections 2-615 and 2-619 of
the Code is de novo. Stahalin v. Forest Preserve District ofDu Page County, 3?6 lll.
App. 3d 765, 771 (2007). Under the de novo standard of review, the reviewing court does
not need to defer to the trial court's judgment or reasoning People v. Vincertt, 226 Ill.2d
l, 14 (2007). De novo review is completely independent of the trial court's decision with

the reviewing court performs the same analysis that a trial judge would perform Unt`teal

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States Steel _Corp. v. illinois Pollation Control Board, 384 lll.App.?)d 457, 461 (2008);
Khan v. BDO Set`dman, LLP, 408 lll.App.3d 564, 578 (2011).

II. Motion for Reconsideration

De novo review is also proper where a motion to reconsider raises a question of
whether the trial court erred in its previous application of existing law. ]P Morgan Ckase
Bank v. Fankhauser, 383 lll App. 3d 254 (2008).

VII. ARGUMENT

I. Does a Plaintiff’s voluntary non-suit, without prejudice, adjudicate
Defendant’s affirmative defense and/or causes of actions of fraud and forgery?

'l`he doctrine of res judicata bars any sequent case of action which resulted in a
final judgment on the merits between the same parties on the same cause of action. To
establish res judicata, three elements must be satisfied: (1) final judgment on the merits
rendered by a court of competent jurisdiction (2) identity of cause of action (3) identity of

earnest 'Htrasaav. Ct'tj) cf antang assur 2d 4'62', 457'(11 s.th-zoos). j
a. No Final Judgment
'l`he requirement of a final order or judgment is a “critical” component in showing

the applicability of res judicata Hemandez v. Pritikin, 2012 [l_, 113054, ‘][ 41. A

judgment cannot bar a subsequent action unless it is a “final” judgment Relph v. Board

ofEdacation ofDePue Um`r School Distrt`cr No. 103, 84 Ill. 2d 436, 441 (1981). A party

asserting res judicata bears the burden of the doctrines application to the facts.
Hemana'ez, 2012 Il_, 113054, ‘][ 41
In Rt'chrer v. Prat'rie Farms Dairy, Inc., the trial court granted defendant’s Section

2-615 Motion to Dismiss, however, granted plaintiff leave to file an amended complaint

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within 30 days. Richrer v. Prairie Farms Dairy, Inc., 2016 IL 119518.A1though plaintiff
failed to file an amended complaint, about four (4) years later, the plaintiff moved to
voluntarily dismiss, without prejudice, pursuant to Section 2-1009 which was granted
OVer two (2) years after the voluntary dismissal, without prejudice, the plaintiff filed the
same cause of action against the same defendant which the defendants moved to dismiss
based on res judicata which was granted Id. The appellate court reversed the trial
court’s decision regarding the application of res judicata to the second action and
remanded the case to the trial court. Id. The Defendant then appealed to the Illinois
Supreme Court which affirmed the appellate court’s decision

The Illinois Supreme Court specifically found that the dismissal of the voluntary
dismissal of the first action, without prejudice, did not amount to a final adjudication on
the merits for the purposes of res judicata Ricltter v. Prairie Farms Dat'ry, Inc., 2016 IL
119518. The Illinois Supreme Court reasoned that “{T}o be “final,” a judgment or order
must terminate the litigation and fix absolutely the parties’ rights, leaving only
enforcement of the judgment In re Detention ofHardin, 238 lll. 2d 33, 42-43 (2010).
Thus, “a ruling which is not a final order does not in any manner affect or determine any
subsequent proceeding.” Amold Scha]j’er, Inc. v. Goodman, 73 lll.App. 3d 729, 732
(1979).

A judgment is final if it terminates the litigation on the merits of the case and
determines the rights of the parties, and if affirmed, the only action pending is to proceed
to execution Weilmttenster v. H.H. Hall Constrnction Comparty, 72 lll. App. 3d 101, 106

(5‘}' Dist. 1979). The true test of finality is if it finally determines the rights and

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obligations of the parties, without leaving matter of substantial controversy for
subsequent resolution. ld. citing McCajj‘rey v. Nanrnan, 204 l]l. App.3d 761, 764 (1990).

Illinois Supreme Court Rule 273 provides: “Unless the order of dismissal or a
statute of this State otherwise specifies, an involuntary dismissal of an action, other than
a dismissal for lack of jurisdiction, for improper venue, or for failure to join an
indispensable party, operates as an adjudication upon the merits.” (Emphasis added) Ill.
S. Ct. R. 273 (eff. Jan. l, 1967). A dismissal “wirhont prejudice” signals that there was
no final decision on the merits and that the plaintiff is not barred from refiling the action
Kosrecki v. Dominick's Finer Foods, Inc., of lllt`nois, 361 lll. App. 3d 362, 373 (2005).
Under Supreme Court Rule 237, it is only when a dismissal order does not specify that it
is “without prejudice,” or that plaintiff was granted leave to file an amended complaint,
the dismissal order is a final adjudication on the merits Id. at ‘j[ 26. Thus, the Illinois
Supreme Court concluded that a when a party exercises its right to voluntarily dismiss its
ownreactionwithoutprejudice, the 'Vo'luntary dis'missal*is ndt'tantamountto a final 7
judgment on the merits. Richzer v. Prat'rt'e Farnts Dair'y, Inc., 2016 IL 119518.

Similar to the Richter case, in the instant matter, the Court erred by finding that
the voluntary dismissal, without prejudice, resulted in a final judgment on the merits in
the Law Action. After receipt of Doherty’s letter to Banlr’s counsel indicating his intent
to file suit regarding the fraud and forgery perpetrated by Bank and the others, the Bank
voluntarily dismissed the Law Action, without prejudice, while Doherty’s affirmative
defenses remained pending and undetermined (C 392).

As indicated in his letter, Doherty filed the instant action against the Defendants.

The erroneously found that there was an adjudication on the merits in the Law Action by

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stating that “a default judgment is a final judgment on the merits for purposes of res
judicata (See pg. 2 of Court Order) (C 341-345). The First Action, however, did not
result in a default judgment entered against Doherty, but rather the Bank’s voluntary
dismissal, without prejudice

Not only did the Court err in finding that the voluntary dismissal, without
prejudice, amounted to a final judgment on the merits, the Court failed to consider the
Savings Statute. Under Section 13-217 of the Illinois Code of Civil Procedure, an action
which is voluntarily dismissed by the plaintiff or dismissed for want of prosecution by the
court may be filed within one year thereof or within the applicable statute of limitations
735 ILCS 5/13-217. Ironically, in BankFinancial, FSB v. Tandon, 2013 ll App (1$[)
113152, Defendant, Crowley & Lamb, representing BankFinancial successfully argued
that a voluntary dismissal of claims and subsequent dismissal for want of prosecution of
the remaining claims did not result in a final adjudication on the merits for the purposes
of res judicata, a copy of the BankFt`nancial v. Tandon decision is attached hereto and
incorporated herein as Exhibit “E”. The First District expressly found that neither the
voluntary dismissal or the DWP Order triggered the doctrine of res judicata, nonetheless
the Savings Clause allowed Banl<Financial to file its second suit.

ln Flr)res v. Dngan, the Illinois Supreme Court also held that a dismissal for want
of prosecution is not a final and appealable order as the plaintiffs had an absolute right to
file their cause of action pursuant to section 13-217. Flores v. Dugan, 91 lll. 2d 108, 112
(lll.S.Ct. 1982). The Illinois Supreme Court reasoned that “since the plaintiffs had an
absolute right to refile the action with the statutory limits, the order of dismissal could not

terminate the litigation.” Id. at 114.

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Like in Tandon and F£ores, in the Law Action there was no adjudication on the
merits of Bank’s claims against Doherty. Rather, the Bank voluntarily dismissed,
without prejudice, its claims against Doherty while Doherty’s affirmative defenses were
pending and his deposition of the Bank’s president was pending The Bank and it’s
counsel, after being placed on notice of Doherty’s allegations of fraud and forgery, and
without sitting for the deposition, voluntarily dismissed as a strategy to avoid liability.
Since there was no final judgment against Doherty, Doherty has the unfettered right
under the Savings Clause to maintain his lawsuit against Defendants as the applicable
statute of limitations have not yet expired

b. No Identity in Cause of Action

i. Independent Claims

The trial court erred in finding that there was an identity between the Law Action
and the instant matter. ln the Law Action, Bank asserted claims against Doherty based
on his"alle'ge'd' Guaranty'of the forged Note. j('C"E') 12~3 15). The instantiaction, however,
involves Banlc’s, its officers and attorneys unscrupulous acts of collecting the amounts
allegedly due and owing to Bank under a forged Note and alleged Guaranty. Thus, it’s
the acts and not the forged loan document that formed the basis of the Doherty’s lawsuit
The basis of res judicata is that the party against whom the doctrine is raised has litigated
or had the opportunity to litigate the same manner in the prior action. Schlangen v.
Resolation Trust Corp., 934 F.2d 143, 146 (7th Cir. 1991).

The Seventh Circuit Court of Appeals dealt with a similar issue and found that res
judicata did not apply. ln the Whizaker case, the United States Court of Appeals

examined the identity of cause of action requirement under res judicata using both the

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evidence and transactional approach and found that neither approach applied. Wht`raker
v. Ameritech Corporation, 129 F.3d 952, 955-56 (7th Cir. 1997). Ameritech brought suit
against Whitaker for failure to pay her phone bills Which resulted in a default judgment
being entered against Whitalter. Id. Thereafter, Whitaker bought suit against Ameritech
for violations under the Fair Debt Collections Practices Act (“FDCPA”). la’. The Court
essentially found that although Whitaker’s claims arose out of her telephone service with
Ameritech in a general sense, the essence of her claim arose out of the injury resulting
Ameritech’s collection of the debt for her telephones services Id. at 958. The Court
reasoned that Whitaker incurred a debt when she used Ameritech’ s telephone services,
but Ameritech collection procedures never affected Whitaker until she failed to pay her
bill, thus, the debt attachment and the debt collection were rendered separated by time
and purpose. Id. “To lump debt attachment and debt collection together as the same
cause of action under the res judicata analysis is to give res judicata broader sweep than
we believe the Illinois courts are Willing to give it.” Id. The default judgment against
Whitaker did not prevent her from filing suit against Ameritech based on the doctrine of
res judicata Id.
ii. Counterclaims

The primary basis of the Court Order dismissing the instant lawsuit is premised
upon the erroneous finding of an identity of the cause of actions between the Law Action
and this action. ln the Law Action, the Bank and it’s counsel filed suit on a forged Note
and Guaranty against Doherty. (C 256~30'1'). Prior to the Banlt’s voluntary non-suit,
without prejudice, of its claims against Doherty, Doherty indicated that a lawsuit was

forthcoming based upon the Bank’s and it’s counsel unscrupulous acts. Although the

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trial court found that the instant causes of action should be been brought as counterclaims
in the Law Action, the instant actions are distinct from those in the Law Action With
Doherty having the option of filing a new suit.

Section 2-608 of the Illinois Code of Civil Procedure govern counterclaims
Section 2-608 states,

“Counterclaims. (a) Any claim by one or more defendants against one or more

plaintiffs, or against one or more codefendants, whether in thel nature of setoff,

recoupment, cross claim or otherwise, and whether in tort or contract, for
liquidated or unliquidated damages, or for other relief, may be pleaded as a cross-

claim in any action, and when so pleaded shall be called a counterclaim.” 735

ILCS 5/2-608(a).

Illinois courts had held that the word “may” in subsection (a) of the statute
indicated an election is available to defendant and therefore counterclaims in Illinois are
permissive rather than mandatory and the statute does not require that a defendant
immediately assert his rights by counterclaim Davz`s v. Lowery, 228 ]ll. App. 3d 660,
662 (lll.App.Ct{ 1'99'2). The word “may" in the statute indicated an election is available
to the defendant YMCA of Warren County v. Middland Arch'itecrs, Inc., 174 lll.app.3d
966, 971 (3“j Disr. 1993).

ln the YMCA case, the Court held that plaintiff was not barred by res judicata
from bring a separate action where he failed to assert a counterclaim in a prior action
between the parties even though both actions arouse out of the same accident Id.
Simi]arly in Carey v. Neal, Cortr`na and Assocr`ates, the First District was confronted
Whether the Illinois plaintiffs in the pending case “could have” asserted a fraud defense to

the Florida mortgage foreclosure proceedings or “could have” filed a counterclaim based

on the alleged fraud for the purposes of res judicata Carey v. Neal, Cortina and

ll

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Associares, 216 lll. App. 3d 51 (15‘ Dist. 1991). The Court answered in the negative
stating that plaintiffs were not barred as a matter of law from making that election to file
counterclaim in the first action or-simply file a new fraud action against the defendants
Id. ln the absence of a statute or rule of court that requires defendants to asset their
claims as a counterclaim to the plaintiff’ s lawsuit, the general rule is that the defendant
retains the choice of bringing a separate action against the plaintiff instead of filing a
counterclaim See Section 22 of the Restatement, Second, Judgments, Comment a p.
185-186). Doherty was not forced to assert his claims in the Bank’s forum or
proceedings but is free to bring the instant suit.

Likewise, in Davis v. Lawery, found that there was no identity of a cause of action
when a third-party defendant who, in a previous action, failed to file a counterclaim and
later filed a separate Suit. Davt's v. Lowery, 228 lll.App.Sd 660 (Sth Dist. 1992). ln the
Davis case, the Fifth District held that the third-party defendant in the first suit and
plaintiff in the second suit had the right to wait to assert his claims and bring an
independent action. Id. The court reasoned that the word “may” in the statutes indicates
an election is available to defendant and therefore, counterclaims in Illinois are
permissive rather than mandatory and the statute does not require that a defendant
immediately assert his rights by counterclaim Id.

Aitough the trial court found that the instant causes of action should have been
brought as counterclaims in the Law Action, the instant actions are distinct from those in
the Law Action with Doherty having the option of filing a new suit. Since counterclaims

in Illinois are permissive, Doherty was not required to assert his claims against the Bank

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and the other Defendants in the Law Action and instead has the unfettered right to assert
his causes against the Defendant in a separate action.

The trial court’s application of Corcoran-Hakala case was inappropriate The
Corcoran-Hakala held that res judicata bars a subsequent action if successful
prosecution of that action would in effect nullify the judgment entered in the initial
action. Corccran-Hakala v. Dowd, 362 lll. App.?>d 523, 530 (2ncl Dist. 2005). This is an
exception to general rule set forth above without any relevancy hereto. The entry of a
default judgment against only one married defendant in the Law Action based on an

_ alleged default of his Guaranty doesn’t preclude Doherty from asserting his Claims,
based in part on the Note not the Guaranty, against the Defendants nor does the instant
lawsuit invalidate the Banlc’s default judgment under the Guaranty Count as to another
defendant

lf the facts constituting a defense are also grounds for a counterclaim, the
defendant*is not rpreclnded*frorn'b'r'i'nging'a separate suit againstthe plaintiff by his
failure to assert the counterclaim in the plaintiffs action. Comment b to Section 22 of the
Restatement (Second) of Judgments. As the claims asserted against Dohery in the Law
Action resulted in a voluntary non-suit, without prejudice, the instant lawsuit would have
no bearing and/or effect on the Law Action. “ln the interests of allowing a party his “day
in court,” then, the general assumes that the defendant in one lawsuit is not barred from
suing the plaintiff in another, as long as the claim in issue is not one that must have been
joined in the first suit as a counterclaim, either by statute, rule of court, or by those
considerations that are expressed in subsection 22(2)(b).” Since the Court Order fails to

employ an exception under the Restatement that would bar the instant lawsuit or provided

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rationale therefore, Doherty should be allowed to pursue his Claims against the
Defendants.

c. No Identity of Parties

Although the Court Order fails to reference the last and final requirement of the
doctrine of res judicata, identity of the parties of their privies, this requirement is not
present. lt`s undeniable that Bank was the sole plaintiff in the Law Action filed against
Doherty. (C256-307). ln the instant action, Doherty, however, names as defendants, not
only the Banl<, but also John Gembara, individually and as president of Banlc, lane Tran,
individually, and Crowley & Lamb, P.C. (C 1-47).

ln the Motion to Dismiss, Defendants completely bypassed this last and final
requirement of res judicata as did the trial court in it’s Order. (C 225-337). The Davis
case cited above, however, addresses the identity of the parties requirement D`avis, 228
Ill.App.Bd 660 (5th Dist. 1992). ln the Davt`s case, the Court found that the plaintiffs in
both cases were different and, thus, the identity of parties requirement was not satisfied
Id. The only parties involved in the Law Action were the Bank and Doherty with
Doherty claims against the Banl<’s attorney’ s distinct from his claims against the Banlt
and it’s officers and agents. As an officer of the Court, attorneys obligated to uphold
their professional and ethical obligations, Crowley & Lamb, however, violated
professional rules of responsibilityl The Banl<: officers and Crowley & Lamb perpetrated
a fraud upon the Court and maliciously prosecuted the Law Action by pursing the Bank’s
claims under a forged Note and improperly asserting liability under a Guaranty. Not only
are Doherty’ s claims against Crowley & Lamb, a non-party in the Law Action, distinct

and separate, the claims against Banlt’s officers may expose them to individual liability in

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producing and filing suit on a forged Note. Therefore, this last requirement of res
judicata is not satisfied

II. Whether res judicata is a sword or a shield?

The primary role of the judiciary branch is to interpret statutes to ascertain and
give effect to the intent of the legislature The plain language of a statute, thus, provides
a reliable indicator of legislative intent. As set forth in the dissent in Hudsan, Section
20(c) of the Restatement of (Second) of ludgments provides that “res judicata does not
bar another action by the plaintiff on the same claim “when by statute or rule of court the
judgment does not operate as a bar to another action on the same claim.” The legislative
branch granted under 735 lLCS 5/13-217 a party the absolute right to file a voluntarily
dismissed complaint and/or counts within one year of the dismissal or the remainder of
the statute of limitations, whichever is greater. Thus, the right created by statute.
“Section 13-217 operates as a savings clause statute, with the purpose of facilitating the
disposition of litigation on the merits"and avoiding its frustration upon grounds unrelated
to the merits.” S.C. Vaaghan Or`l Co. v. Caldwell, 181 lll. 2d 498, 497 (1998). As such,
“res judicata and the rule against claim-splitting should not be applied mechanically to
infringe on plaintiff’s legislatively created right to re-file their voluntarily dismissed
claim, based on grounds totally divorced from the merits of plaintiffs’ claim.” Hudscn,
228 lll.2d at 498 (dissent). As Doherty’s claims against Defendants are bought within the
applicable statute of limitations in which Doherty had the option to assert as
counterclaim, although the Bank had already voluntarily dismissed their case, or file new
suit under the Savings Clause. Doherty, thus, should not have been mulcted from

exercising his statutory inferred right to file a suit against Defendants.

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“Res judicata and the rule against claim-splitting should not be applied
mechanically to infringe on plaintiff’s legislatively created right to re-file their
voluntarily dismissed claim, based on grounds totally divorced from the merits of
plaintiffs’ claim.” Hudson, 228 lll.2d at 498 (dissent). As Doherty’s affirmative defenses
in the Law Action were never adjudicated and the Bank voluntary dismissed its suit
against Doherty rather than submit to a deposition, Doherty claims against Defendants
are not barred by res judicata as they are brought with the applicable statute of
limitationsl The Bank tactfully dismissed its claims against Doherty when it was
presented with an expert report relating to the forged Note and the improper suit as to the
guaranty to escape liability to Doherty. Notably, the -Court in the Law Action was not
presented with any facts and/or evidence regarding the Defendants fraud upon the Court.
A race to dismiss counts against Doherty in the Law Action prior to an adjudication by
the Court of his affirmative defense to avoid liability wholly falls short of the rationale to
employ the doctrine of res judicata

Nothing in the Banl<’s voluntarily dismissal, without prejudice, against Doherty
disposed of the litigation on its merits. (C 392). In fact, in the Law Action, Doherty filed
a verified answer and affirmative defense to the Complaint. (C 812-315). The trial court
in the Law Action did not make any determination as to the viability of the Bank’s
Complaint or Doherty’s answer or affirmative defenses and, thus, did not issue a final
judgment based on the merits The voluntarily dismissal order, in fact, was without
prejudice (C 392). Nothing in dismissal order relating to claims against Doherty barred

Doherty from asserting claims or adjudicated his defenses

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If the Court finds that res judicata applies with no exceptions to bar the
application of the doctrine, the outcome would essentially give Plaintiffs an incentive to
file suit based on other forged and fraudulent loans irrespective of the illegality of the
same. There is no rationale to justify such an outcome especially when the Bank _
voluntarily dismissed its claims against Doherty, without prejudice, knowing that
Doherty intended on filing a separate law suit against Bank and its counsel and with his
forgery/fraud defense pending and undetermined The Bank’s fraud has never been
adjudicated Doherty is entitle to have his day in Court and res judicata should not be the
sword to infringe upon his rights

VIII. CONCLUSION

For the foregoing reasons, Plaintiff, Patricl< J. Doherty, respectfully requests this
Court to reverse the trial court’s granting of the Defendants’ Motion to Dismiss the
Amended Complaint and the Motion to Reconsider.

Respectfully submitted,
Patrick J. herty
By: jj ”l
Pa{rick l. §oherty
Patrick l . Doherty d
Attorney No. 30723
Patricl<; l. Doherty, LLC
7326 w. losrd street
Palos Hills, Illinois 60465

(708) 598-6626
patrickj doherty @ ameritech.net

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CERTIFlCATION OF BRIEF

I certify that this brief conforms to the requirements of Rule 341(a) and (b). The
length this brief, excluding the page containing the Rule 34l(d) cover, the Rule 34l(h)(l)
statement of points and authorities, the Rule 34l(c) Certificate of Compliance, and the

Certificate of Service, is seventeen (17) pages.
Ptttr'tt-,k J. D?érty

 

Patrick J . Doherty

Attorney No. 30723

Patrick J. Doherty, LLC

7826 w. 103rd street

Palos Hills, Illinois 60465
('/'08) 598-6626
patrickjdoherty@ameritech.net

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EXhibit “A”

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in THE ciRcuiT const oF coot< couNTv, iLLlnols
couNTY DEPARTMENT - LAW olvisloN
Washington Federal Bank for Savings

F|aintiff,

VS

   

F & D Services, Inc., an illinois Corporation; Worth Conversion

LLC, an illinois Limi‘ted Liabiiity Company; John Farano, Jr' and
Patriclcl. Doherty

Defendants.

 

CGMPLAINT AT LAW

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NOW COMF_‘S Washington Federa| Bank for Savings i“Plaintiff" or "Washingtqc,"n?], b'§nil

bq..
through its attorneys Crowley and Lamb P. C., and for its Complaint at l.'aw against‘®e{fe

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es§`jt` . _.‘ '
F & D Services lnc., an lllinois Corporation; John Farano, .ir.; and PatrjickJ. .D`o_i’ier.'i_;y stat~%'s`s a"s_
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REClTALS

Washmgton is a federal savings bank with its principal place of business m Cool<
County, lllinois. _

2. F & D Servlces, inc. (”F & D Services"] is an illinois Corporatlon with its principal `.

place of business in Palos Hillsr Cool< County, illinois

3. Worth Conversion, LLC ("Woth") is an illinois limited liability company with its

p'lnctpa| place of business in Palos Hills, Cool< County illinois

4. Defendant John Farano, lr. (”Farano") is an individual, upon information and

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belief, whose last known principal place of residence was in Cook County, lllinois, however,
whom is presently detained in Federa| Bureau of Prisons in Duiuth, Niinnesota.
5. Defendant Patricic J. Doherty [”Doherty”l is an individual, upon information and

beiief, presently residing in Palos Parl<, Coolc County, ||linois.

counri §§
Breach of Contract

NOW COMES Washington Federal Banl< for Savings {"Piaintiff" or "Washington"), by and

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through its attorneys, Crowley and Lamb, P.C., and for_Count l complains of F & D Services as

foilows:

6. Washington adopts and re-a!leges the aliegations in paragraphs 1 through 5 as

paragraph 6 of this Count i.

7. ' On or about Nlarch 1, 2011, Washington extended credit to F & D Services in the
principal amount of $111,236.84. Said extension of credit was evidenced by a certain t
Promissory Note dated March 1, 2011 (the "X)(491 Note"]. A true and correct copy of the ;‘1

XX493. Note is attached hereto and made a part hereof as E)rhii:it 1.

8. ns consideration for the execution of the XX491 Note, F & D Services executed a
mortgage, as amended and modified, in favor of Washington which was recorded against real
property commonly known as 7149 W. 107“‘ Street, Units A, B, C, D_. Worth, l|iinois 60482
("Property”). A true and correct copy of the Mortgage is attached hereto and made a part
hereof as E)<hi|:iit Z.

9. Washington complied with and performed all of its duties and obligations

under the terms of the XXAQl Note.

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10. Pursuant to the XX491 Note, F & D Services was to make monthly payments until
such time as the XX491 Note was set to mature on March 1, 2014.

ll, That a default occurred under the XX491 Note, based on F & D Services' failure
to pay the real estate taxes when due for the Property for the tax years 2011 and 2012 and for
decertifying the Property and taking same out of the condominium declaration without
Washington’s consent.

12. On February 4, 2014, notice of default was sent to the Mortgagor advising it of
the default and demanding that said defaults be cured on or before february 14, 2014 or
Washington would declare the loan immediately payable without further notice A true and
correct copy of the notice dated February 4, 2014 is attached hereto as Exhlbit 3.
Notwithstanding Plaintiff's demand, F 81 D Services failed to cure the default.

13. As a result of F & D Services’ failure to cure the default, Washington accelerated
the Note claiming all amounts immediately due and owing under the XX491 Note.

14. After credit for all payments received by V'ifashingtonJ as of February 24, 2014
the amount of S 108,129.40, excluding attorneys' fees and costs, is due under the XX491 Note.
interest continues to accrue on the unpaid balance of the XX491 Note at the default rate, as set
forth in the XX491 Note.

15. Under the terms of the _XX491 Note, Washington is entitled to recover all
attorneys' fees and costs, in connection with enforcing its rights under the X_X491 Note.

16. Based on the foregoing F & D Services is in breach under the terms of his
obligation under the XX491 Note and Washington is entitled to recover all amounts due under

said Note, including attorneys' fees and costs incurred, in connection with the enforcement of

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its rights under the XX491 Note.

WHEREFORE, Piaintiff, Washington Federai Banlf. for Savings respectfully requests that
this Court enter judgment against Defendant i-` & D Services in the amount of$ 108,129.40, plus
interest accruing from February 24, 2014, through the date of judgment as weil as ali
attorneys’ fees and costs of enforcing Washington's rights under the terms of the XX491 Note,
and'for such other relief as this Court deems just and reasonabie.

COUNT il
Breach 'of- Guaranty

NOW COMES Washington Federai Bank for Savings (“Piaintiff" or “Washington"), by and

through its attorneys, Crowley and Larnb, P.C., and for Count ii complains ofjohn Farano, ir. as

foilows:

17. Washington adopts and re~a||eges the allegations in paragraphs 1 through 15 as

paragraph 17 ofthis Count |i.

18. As consideration for Washington's agreement to extend credit to F & D Services
then, and in the future, on or about iViarch 1, 2011, Farano executed and delivered to
Washington his continuing unconditional guaranty of payment and performance whereby he
agreed to pay all amounts due Washington under the )0(491 Note by F &'D Services ithe
"Farano Guaranty”]. A true and correct copy of the Farano Guaranty is attached here an
incorporated as Exhibit 4.

19. The Farano Guaranty provides in part that Faranor absolutely and
unconditionally guarantees to Washington, as primary obligori to pay ali amounts of principai,

interest, fees, charges and other amounts at any time outstanding under the X)(491 Note or any

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exterision, renewal or modification thereof. Based on the terms of the Farano Guaranty,
Farano became obligated to Washington for all amounts due in connection with the XX491
Note.

20, On Feioruary 4, 2014, notice of default was sent advising of the default and
demanding that said defaults be cured on or before February 14, 2014 or Washington Would
declare the loan immediately payable without further notice. A true and correct copy of the
notice dated February 4, 2014 is attached hereto as Exhibit 3. Notwithstanding Pfaintiff's
demand, F 81 D 5ervices failed to cure the default.

21. Based on the foregoing, Farano is in breach under his obligations under the
Farano Guaranty and Washington is entitled to recover all amounts due under said Farano
Guaranty, including attorney's fees and costs incurred in connection with the enforcement of
its rights.

'22. After credit for payments received by Washington, as of February 24, 2014 the
amount of $ 108,129.40, excluding attorneys' fees and costs, is due under the XX491 Note and
Farano Guaranty. interest continues to accrue on the unpaid balance of the XX491 Note at
the rate set forth in the XX491 Note.

WHEREFORE, Plaintiff, Washington Federa| Bank for Savings respectfuiiy requests that

this Court enter judgment against Defendant John Farano, Jr. in the amount of $ 108,129.40,

plus interest accruing from February 24, 2014, through the date of judgment, as weil as ail-

attorneys’ fees and costs of enforcing Washington’s rights under the terms of the XX491 Note,

and for such other relief as this Court deems just and reasonab|e.

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COUNT ill
Breach o`f Guaranty

NOW COiViES Washington Federai Bani< for Savings i“Piaintiff' or "Washington"), by and
through its attorneys, Crowley and Lamb, P.C., and for Count iii complains of Patrick .i. Doherty
i"Doherty') as foilows:

23. Washington adopts and re-aileges the allegations in paragraphs 1 through 16 as

paragraph 23 ofthis Count iil.

24. As consideration for Washington’s agreement to extend credit to F & D Servlces
then, and in the future, on or about Niarch 1, 2011, Doherty executed and delivered to
Washing‘ton his continuing unconditional guaranty of payment and performance whereby he
agreed to pay all amounts due Washington under the XX491 Note by F & D Services {the

”Doherty Guaranty"). A true and correct copy of the Doherty Guaranty is attached here an

incorporated as Exhiblt 5.

 

25. The Doherty Guaranty provides in part that Doherty, absolutely and
unconditionally guarantees to Washington, as primary obiigor, to pay ali amounts of principal,
interest, fees, charges a_nd other amounts at any time outstanding under the XX491 Note or any
extension, renewal or modification thereof. Based on the terms of the Doherty Guaranty,
Doherty became obligated to Washington for ali amounu due in connection with the XX491
Note.

26. ' On February 4, 2014, notice of default was sent advising of the default and
demanding that said defaults be cured on or before February 14, 2014 or Washington would

declare the loan immediately payable without further notice. A true and correct copy of the

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notice dated February 4, 2014 is attached hereto as Exhibit 3. N_otwithstanding Plaintif'l’s
demandJ F& D Services failed to cure the default

27. Based on the foregoing Doherty is in'breach under his obligations under the
Doherty Guaranty and Washington is entitled to recover all amounts due under said Doherty
Guaranty, including attorney's fees and costs incurred in connection with the enforcement of
its rights.

28. After credit for payments received by Washington, as of February 24, 2014 the
amount of$ 108,129.40, excluding attorneys’ fees and cos$, is due under the XX491 Note and
Doherty Guaranty. interest continues to accrue on the unpaid balance of the )<)<491 Note at
the rate set forth in the XX491 Note.

WH EREFORE, Plaintiff, Washington Federai Bank for Savings respectfully requests that
this Court enter judgment against Defendant Patrick J. Doherty in the amount of$ 108,129.40,
plus interest accruing from February 24, 2014, through the date of judgment, as well sas all
attorneys' fees and costs of enforcing Washington's rights under the terms of the XX491 Note,

and for such other relief as this Court deems just and reasonable

COUNT iv
Breach of Contract

NOW COMES Washington Federai Banl< for Savings ("Plaintiff” or "Washington"], by and
through its attorneys, Crowley and Lamb, P.C., and for Count lV complains of F & D Servlces as

foilows:

29. Washington adopts and re-alleges the allegations in paragraphs 1 through 5 as

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paragraph 29 ofthis Count |V.

30. Dn or about March 1, 2011, Washington extended credit to F 81 D Services in the
principal amount of $111,236.84. Said extension of credit was evidenced by a certain
Promissory Note dated Nlarch 1, 2011 (the “XXSOS Note"). A true and correct copy of the
XXSOG Note is attached hereto and made a part hereof as Exhibit 6.

31. As consideration for the execution of the XXSOE Note, F & D $ervices executed a
mortgage, as amended and modified, in favor of Washington which was recorded against real
property commonly known as 7151 W. 107th Street, UniS A, B, C, D, Worth, illinois 60482

(”Property"). A true and correct copy of the Mortgage is attached hereto and made a part

hereof as Exhibit 7._
32. Wahington complied with and performed all of its duties and obligations

under the terms of the KXSUB Note.

33. Pursuantto the XXSUE Note. F & D Services was to mai<e monthly payments until

such time as the XXBOE Note was set to mature on Niarch 1, 2014.

34. That a default occurred under the XXSOG Note, based on F & D Services' failure
to pay the real estate taxes when due for the Property for the tax years 2011 and 2012 and for
decert|fying the Property and taking same out of the condominium declaration without
Washington’s consent.

35. On February 4, 2014, notice of default'was sent to the iviortgagcr advising it of
the default and demanding that said defaults be cured on or before February 14, 2014 or

Washington would declare the loan immediately payable without further notice. A true and

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correct copy of the notice dated February 4, 2014 is attached hereto as Exhibit 8.
Notwithstanding P|aintiff's demand, F & D Services failed to cure the default.

36. As a result ofF & D Services’ failure to cure the default, Washington accelerated
the Note claiming ali amounts immediately due and owing under the XX506 Note.

37. After credit for all payments received by Washington, as of February 24, 2014
the amount of $ 103,129.40, excluding attorneys' fees and costs, is due under the XXSOS Note.
interest continues to accrue on the unpaid balance of the XXSUG Note at the default rate, as set
forth in the XXSO€ Note.

38. Under the terms of the XXSOE Note, Washington is entitied to recover all
attorneys' fees and costs. in connection with enforcing its rights under the XXSOG Note.

39. Based on the foregoing F & D Services is in breach under the terms of his
obligation under the XX506 Note,and Washington is entitled to recover all amounts due under
said Note, including attorneys’ fees and costs incurred, in connection with the enforcement of
its rights under the XXSOS Note.

WHEREFORE, Plaintiff, Washington Federai Bank for Savings respectfully requests that
this Court enter judgment against Defendant F & D Services in the amount of$ 108,129.40, plus
interest accruing from February 24, 2014, through the date of judgment, as well as all
attorneys' fees and costs of enforcing Washington‘s rights under the terms of the XXSOB Note,
and for such other relief as this Court deems just and reasonabie.

COUNT V
Breach of Guaranty

NOW COMES Washington Federai Bani< for Savings ("Plaintlff" or “Washington”), by and

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through its attorneys, Crowley and Lamb, P.C., and for Count V complains oflohn Farano, lr. as
foilows:

40. Washington adopts and re~aiieges the allegations in paragraphs l through 5 and
paragraphs 30 through 39 as paragraph 40 of this Count V.

41. As consideration for Washington's agreement to extend credit to F & D Services
then, and in the future', on or about March l, 2011J Farano executed and delivered to
Washington his continuing unconditional guaranty of payment and performance, whereby he
agreed to pay all amounts due Washington under the )0(506 Note by F & D Services (the
"Farano Guarant\f'). A true and correct copy of the Farano Guaranty is attached here an

incorporated as Exhibit 9.

42. The Farano Guaranty provides in part that Farano, absolutely and
unconditionally guarantees to Washington, as primary obligor, to pay all amounts of principai,
interest, fees, charges and other amounts at any time outstanding under the XXSDG Note or any
extensionJ renewal or modification thereof. Basecl on the terms of the Farano Guaranty,
Farano became obligated to Washington for all amounts due in connection with the XXSOE»
Note.

43. On February 4, 2014, notice of default was sent advising of the default and
demanding that said defaults be cured on or before February 14, 2014 or Washington would
declare the loan immediately payable without further notice. A true and correct copy of the
notice dated February 4, 2014 is attached hereto as Ex_hibit 8. Notwithstanding ‘Piaintiff‘s

demand, F & D Services failed to cure the default.

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44. Based on the foregoing Farano is in breach under his-obligations under the
Farano Guaranty and Washington is entitled to recover ali amounts due under said Farano
Guaranty, including attorney‘s fees and costs incurred in connection with the enforcement of
its rights.

45. After credit for payments received by Washington, as of February 24, 2014 the
amount of 5 108,129.40, excluding attorneys' fees and costs, is clue under the XXSOE Note and
Farano Guaranty. interest continues to accrue on the unpaid balance of the XXSO€> Note at
the rate set forth in the XXSOS Note.

WHEREi-`ORE, Plaintiff, Washington Federai Bank for Savings respectfully requests that
this Court enter judgment against Defendant John Farano, Jr. in the amount of$ 108,129.40,
plus interest accruing from February 24, 2014, through the date of judgment, as weil as ali
attorneys' fees and costs of enforcing Washington's rights under the terms of the XXSOS Note,
and for such other relief as this Court deems just anal reasonabie.

COUNT Vi
`Breach of- Guaranty

NOW COMES Washington Federai Bank for Savings (_“Plaintiff” or "Washington"}, by and
through its attorneys, Crowley and Lamb, P.C., and for Count Vi complains of Patriclc i. Doherty

(”Doherty”) as follows:

46. Washington adopts and re-al|eges the allegations in paragraphs l through 5 and

paragraphs 30 through 39 as paragraph 46 of this Count Vi.
47. As consideration for Washington's agreement to extend credit to F & D Services

then, and in the future, on or about iviarch 1, 2011, Doherty executed and delivered to

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Washington his continuing unconditional guaranty of payment and performancel whereby he
agreed to pay all amounts due Washington under the XXSO€ Note by F & D Services [the
”Doherty Guaranty”). A true and correct copy of the Doherty Guaranty is attached here an
incorporated as Exhibit 10.

48. The Doherty Guaranty provides in part that Doherty, absoiutely and
unconditionally guarantees to Washington, as primary obligor, to pay all amounts of principal,
interest, fees, charges and other amounts at any time outstanding under the XX§OE Note or any
extension, renewal or modification thereof. Based on the terms of the Doherty Guaranty,
Doherty became obligated to Washington for all amounts due in connection with the XXSOB

Note.

49. On February 4, 2014, notice of default was sent advising of the default and
demanding that said defaults be cured on or before February 14, 2014 or Washington would
declare the loan immediately payable without further notice. A true and correct copy of the
notice dated February 4, 2014 is attached hereto as E)<hibit S. Notwithstanding P|aintiff’s
demand, F & D Services failed to cure the default.

50. Based on the foregoing Doherty is in breach under his obligations under the
Doherty Guaranty and Washington is entitled to recover all amounts due under said Doherty
Guaranty, including attorneys fees and costs incurred in connection with the enforcement of
its rights.

51. After credit for payments received by Washington, as of February 24, 2014 the

amount of $ 108,129.40, excluding attorneys' fees and costsl is due under the XX506 Note and

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Doherty Guaranty. interest continues to accrue on the unpaid balance of the )0(506 Note at
the rate set forth in the XX506 Note.

WHEREFORE, Piaintiff, Washington Federai Banl< for Savings respectfully requests that
this Court enter judgment against Defendant Patric|< J. Doherty in the amount of $ 108,129.40,
plus interest accruing from February 24, 2014, through the date of judgmentl as well as ali
attorneys’ fees and costs of enforcing Washington’s rights under the terms of the XXBOE Note,

and for such other refief as this Court deems just and reasonable

COUNT Vll
Breach of Contract

NOW CON|ES Washington Federai Bank for Savings ["Piaintiff” or “Washington"), by and
through its attorneys, Crowley and Lami:\, P.C-, and for Count Vl| complains of F & D Services as
follows:

52. Washington adopts and re-aiieges the allegations in paragraphs 1 through 5 as
paragraph 52 of this Count \!|i.

53. On or about March 1, 2011, Washington extended credit to F & D Services in the
principal amount of 5111,236.84. Said extension of credit was evidenced by a certain
Promissory Note dated March 1, 2011 (the “XX514 Note"). A true and correct copy of the
XX514 Note is attached hereto and made a part hereof as Exhibit 11,

54. As consideration for the execution of the XXSl¢i Note, F & D Services executed a
mortgage, as amended and modified, in tavor of Washington which was recorded against real

property commonly known as 7155 W. 10?"' StreetJ Units A, B, C, D, Worth, illinois 60482

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(”Property”). A true and correct copy of the iv'lortgage is attached hereto and made a part

hereof as Exhibit 12,

 

55. Washington complied with and performed all of its duties and obligations
under the terms ofthe KX514 Note.

56. Pursuant to the XX514 Note, F & D Services was to make monthly payments until
such time as the XX514 Note was set to mature on i\/larch 1, 2014.

57. That a default occurred under the XK514 Note, based on F & D Seryices' failure
to pay the real estate taxes when due for the Property for the tax years 2011 and 2012 and for
decertifying the Property and taking same out of the condominium declaration without
Washington’s consent.

_58. On February 4, 2814, notice of default was sent to the Mor‘tgagor advising it of
the default and demanding that said defaults be cured on or before February 14, 2014 or

Washington would declare the loan immediately payable without further notice. A true and

 

correct copy of the notice dated February 4, 2014 is attached hereto as Exhlbit 13.
Notwith standing Plaintiff's demand, F & D Services failed to cure the default

59. As a result of F & D Services’ failure to cure the default, Washington accelerated
the Note claiming all amounts immediately due and owing under the XX514 Note_.

60. After credit for all payments received by Washington, as of February 24, 2014
the amount of $ 108,129.40, excluding attorneys' fees and costs, is due under the XX514 Note.

lnterest continues to accrue on the unpaid balance of the XX514 Note at the default rate, as set

forth in the XXSlli Note.

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61. Under the terms of the XX514 Note, Washington is entitled to recover all
attorn eys' fees and costs, in connection with enforcing its rights under the XXSM Note.
62. Based on the foregoingl F & D Services is in breach under the terms of his
obligation under the XX514 Note and Washington is entitled to recover all amounts due under
l said Note, including attorneys’ fees and costs incurred, in connection with the enforcement of
its rights under the XX514 Note.
WHEREFORE, Plaintil'f, Washington Federal Banl< for Savings respectfully requests that
this Court enter judgment against Defendant F & D Services in the amount of$ 108,129.40, plus
' interest accruing from February 24, 2014, through the date of iudgment, as well as all
attorneys’ fees and costs of enforcing Washington's rights under the terms of the XX514 Note,
and for such other relief as this Court deemsjust and reasonable

COUNT Vll{
Breach of Guaranty

NOW COMES Washington Federai Banlc for Savings (“Plaintiff" or "Washington"l, by and
through its attorneys, Crowley and Lamb, P.C., and for Count Vlll complains oflohn Farano, Jr.
as follows:

63. Washington adopts and re-alleges the allegations in paragraphs 1 through 5 and

paragraphs 53 through 62 as paragraph 63 of this Count Vll!.

64. As consideration for Washington’s agreement to extend credit to F & D Services

then, and in the future, on or about March l, 2011, Farano executed and delivered to

Washington his continuing unconditional guaranty of payment and performance, whereby he .

agreed to pay all amounts due Washington under the XXBirl Note by F & D Servlces [the

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”Farano Guaranty”l. A true and correct copy of the Farano Guaranty is attached here an

incorporated as Exhibit 14.

 

55. The Farano Guaranty provides in part that Farano, absolutely and
unconditionally guarantees to Washington, as primary obligor, to pay all amounts of principal,
interest, fees, charges and other amounts at any time outstanding under the X)l514 Note or any
extension, renewal or modification thereof. Based on the terms of the Farano Guaranty,
Farano became obligated to Washington for all amounts due in connection with the X)(514
Note:

66. On February 4, 2014, notice of default was sent advising of the default and
demanding that said defaults be cured on or before February 14, 2014 or Washington would
declare the loan immediately payable without further notice. A true and correct copy of the
notice dated February 4, 2014 is attached hereto as _E_xilbli_'._§. Notwithstanding Plaintiff’s
demand, F & D Services failed to cure the default

67. Based on the foregoing Farano is in breach under his obligations under the
Farano Guaranty and Washington is entitled to recover all amounts due under said Farano
Guaranty, including attorney's fees and Costs incurred in connection with the enforcement of
its rights

68. After credit for payments received by Washington, as of February 24, 2014 the
amount of $ 108,129.40, excluding attorneys fees and costs, is due under the XX514 Note and

Farano Guaranty. interest continues to accrue on the unpaid balance of the XX514 Note at

the rate set forth in the X)(Sl¢i Note.

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WHEREFORE, Plaintiff, Washington Federai Bank for Savings respectfuliy requests that
this Court enter judgment against Defendant john Farano, lr. in the amount of 5 108,119.40,
plus interest accruing from February 24, 2014, through the date of judgment as well as all
attorneys’ fees and costs of enforcing Washington's rights under the terms of the X>(514 Note,

and for such other relief as this Court deems just and reasonable

COU NT ix
Breach of.Guaranty.

NOW COMES Washington Federai Bank for Savings (“Plaintiff" or "Washington"], by and

through its attorneys, Crowley and Larnb, P.C., and for Count i)( complains of Fatrick J. Doherty

(”Doherty”) as foilows:

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69. Washington adopts and re-aiieges the allegations in paragraphs 1 through 5 and

paragraphs 53 through 62 as paragraph 69 of this Count lX.
70. As consideration for Washington's agreement to extend credit to i-' & D Services
then, and in the future, on or about Niarch 1, 2011, Doherty executed and delivered to

Washington his continuing unconditional guaranty of payment and performance whereby he

agreed to pay ali amounts due Washington under the X){514 Note by F & D Services (the

"Doherty Guaranty”). A true and correct copy of thelDoherty Guaranty is attached here an
incorporated as E)"thibit 15._

71. The Doherty Guaranty provides in part that Doherty, absolutely and
unconditionally guarantees to Washington, as primary obiigor, to pay ali amounts of principal,
interest, fees, charges and other amounts at any time outstanding under the XX514 Note or any

extension, renewal or modification thereof. Based on the terms of the Doherty Guaranty,

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Doherty became obligated to Washington for all amounts due in connection with the XX514
Note.

72. On February 4, 2014, notice of default was sent advising of the defadit and l..,'
demanding that said defaults be cured on or before February 14, 2014 or Washington would :
declare the loan immediately payable without further notice. A true and correct copy of the

notice dated February 4, 2014 is attached hereto as Exhibit 13. Notwithstanding Plaintiff's ~-l

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demand, F & D Seryices failed to cure the default

73. Based on the foregoing Doherty is in breach under his obligations under the
Doherty Guaranty and Washington is entitieci to recover ali amounts due under said Doherty
Guaranty, including attorney's fees and costs incurred in connection with the enforcement of
its rights. ;_

74. After credit for payments received by Washington, as of Fehruary 24, 2014`the :=
amount of$ 108,129.40, excluding attorneys' fees and costs, is due under the XXSle Note and l
Doherty Guaranty, interest continues to accrue on the unpaid balance of the XXSl-'l Note at ._'i
the rate set forth in the XX514 Note.

WHEREFORE, Piaintiff, Washington Federai Bank for Savings respectfully requests that
this Court enter judgment against Defendant Patricl< J. Doherty in the amount of$ 108,129.40,
plus interest accruing from February 24, 2014, through the date of judgment, as well as ali

_attorneys’ fees and costs of enforcing Washington’s rights under the terms of the >(XSlli Note,
and for such other reiief as this Court deemsjust and reasonable

CDUNT X
Breach of C'ontract

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NOW COMES Washington Federai Banl-c for Savings ("Piaintiff” or "Washington"i, by and
through its attorneys, Crowley and Larnb, P.C., and for Count X complains of F & D Services as
follows:

75. Washington adopts and re-aiieges the allegations in paragraphs 1 through 5 as
paragraph 75 of this Count i<_

76. On or about March 1, 2011, Washington extended credit to F & D Services in the
principal amount of $111,236.84. Said extension of credit was evidenced by a certain
Promissory Note dated March 1, 2011 ithe "XX483 Note"). A true and correct copy of the
XX483 Note is attached hereto and made a part hereof as Exhibit 15.

771 As consideration for the execution of the XXABB Note, F & D Serv|ces executed a
mortgage, as amended and modified, in favor of Washington which was recorded against real
property commonly known as 7145 W. 107th Street, Units A, B, C, D, Worth, illinois 50432
(”Property"). A true and correct copy of the iviortgage is attached hereto and made a part
hereof as E)ihibit 17.

78. Washington complied with and performed ali of its duties and obligations
under the terms of the XX483 Note.

79. Pursuantto the XX433 Note, F & D Services was to make monthly payments until
such time as the XX483 Note was set to mature on Niarch 1, 2014.

80. That a default occurred under the XX483 Note, based on F & D Services' failure
to pay the real estate taxes when due for the Property for the tax years 2011 and 2012 and for

decertifying the Property and taking same out of the condominium declaration without

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Washington's consent.

81. Dn February 4, 2014, notice of default was sent to the iviortgagor advising it of
the defauit and demanding that said defaults be cured on or before February 14, 2014 or
Washington would declare the loan immediately payable without further notice. A true and

correct copy of the notice dated February 4, 2014 is attached hereto as Exhibit 13.

 

Notwithstanding Plaintiff’s demand, F & D Services failed to cure the default.

82. As a result of F & D Services' failure to cure the defauit, Washington accelerated
the Note claiming ali amounts immediately due and owing under the )(X483 Note.

83. After credit for ali payments received by Washington_. as of February 24, 2014
the amount of $ 108,129.40, excluding attorneys’ fees and costs, is due under the XX483 Note.
interest continues to accrue on the unpaid balance of the X)(483 Note at the default rate, as set
forth in the XXABB Note.

84. Under the terms of the XXASB Note, Washington is entitled to recover all
attorneys’ fees and costs, in connection with enforcing its rights under the XX433 Note.

35. Based _on the foregoing F & D Services is in breach under the terms of his
obligation under the X)<¢iBB Note and Washington is entitled to recover all amounts due under
said Note, including attorneys' fees and costs incurred, in connection with the enforcement of
its rights underthe XX483 Note.

WHEREFORE, Piaintiff, Washington Federai Banl< for Savings respectfully requests that
this Court enter judgment against Defendant F & D Services in the amount of$108,129.40, plus

interest accruing from February 24, 2014, through the date of judgment, as weil as all

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attorneys’ fees and costs of enforcing Washington’s rights under the terms of the XX¢iBB Note,
and for such other relief as this Court deems just and reasonab|e.

COUNT ){l
Breach of Guaranty

NOW COMES Washington Federai Bani< for Savings ("Plaintiff" or “Washington"), by and ‘-
through is attorneys, Crowley and Lamb, P.C., and for Count Xi complains of John Farano, ir. as z
follows:

86. Washington adopts and re-alleges the allegations in paragraphs 1 through 5 and
paragraphs 76 through 85 as paragraph 86 ofthis Count Xl. l

87. As consideration for Washington*s agreement to extend credit to F & D Services
then, and in the future, on or about Nlarch 1, 2011, Farano executed and delivered to
Washington his continuing unconditional guaranty of payment and performance, whereby he il
agreed to pay ali amounts due Washington under the XX483 Note hy F & D Services (the it
“Farano Guaranty”). A true and correct copy of the Farano Guaranty is attached here an
incorporated as Exhibit 19.

88. The .Farano Guaranty provides in part that Farano, absolutely and
unconditionally guarantees to Washington, as primary obligor, to pay all amounts of principal,
interest, fees, charges and other amounts at anytime outstanding under the XXASB Note or any
extension, renewal or modification thereof. Based on the terms of the Farano Guaranty,

Farano became obligated to Washington for all amounts due in connection with the XX433

Note.

89. On February 4, 2014, notice of default was sent advising of the default and

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demanding that said defaults he cured on or before February 14, 2014 or Washington would
declare the loan immediately payable without further notice. A true and correct copy of the
notice dated February 4, 2014 is attached hereto as Exhibit 184 Notwithstanding Piaintiff’s
demand, F & D Services failed to cure the default.

90. Based on the foregoingr Farano is in breach under his obligations under the
Farano Guaranty and Washington is entitled to recover ali amounts due under said Farano
Guaranty, including attorney"s fees and costs incurred in connection with the enforcement of
its rights.

91. After credit for payments received by Washington, as of February 24, 2014 the
amount of$ 108,129.40, excluding attorneys’ fe$ and costs, is due under the XX483 Note and
Farano Guaranty. interest continues to accrue on the unpaid balance of the XX483 Note at
the rate set forth in the XX483 Note.

WHEREFORE, P|aintlff, Washington Federai Banlc for Savings respectfully requests that
this Court enter judgment against Defendant John Farano, ir. in the amount of $ 108,129.40,
plus interest accruing from February 24, 2014, through the date of judgment, as well as all
attorneys’ fees and costs of enforcing Washington’s rights under the terms of the XX4B3 Note,
and for such other relief as this Court deems just and reasonable

COUNT Xil
Breach of Guarantyd

NOW COMES Washington Federai Banlc for Savings (“Plaintiff" or “Washington"), by and

through its attorneys, Crowley and Lamb, P.C., and for Count Xl| complains of Patricl< l. Doherty

(”Doherty”} as foilows:

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92. Washington adopts and ria-alleges the allegations in paragraphs 1 through 5 and
paragraphs 76 through 85 as paragraph 92 ofthis Count Xll.

93. As consideration for Washington's agreement to extend credit to F & D Services
then, and in the future, on or about Niarch 1, 2011, Doherty executed and delivered to
Washington his continuing unconditional guaranty of payment and p.erformance, whereby he
agreed to pay all amounts due Washington under the XX483 Note by F & D Seryices (the
“Doherty Guaranty"]. A true and correct copy of the Doherty Guaranty is attached here an
incorporated as Exhibit 20.

94 The Doherty Guaranty provides in part that Doherty, absolutely and
unconditionally guarantees to Washington, as primary obligor, to pay all amounts of principal,
interest, fees, charges and other amounts at any time outstanding under the XX483 Note or any
extension, renewal or modification thereof. Based on the terms of the Doherty Guaranty,
Doherty became obligated to Washington for ali amounts due in connection with the XX483
Note.

95. On February 4, 2014, notice of default was sent advising of the default and
demanding that said defaults be cured on or before February 14, 2014 or Washington would
declare the loan immediately payable without further noticel A true and correct copy of the
notice dated February 4, 2014 is attached hereto as Exhibit 18. Notwithstanding P|aintiff’s`
demand, F & D Seryices failed to cure the default.

96. Based on the foregoing Doherty is in breach under his obligations under the

Doherty Guaranty and Washington is entitled to recover all amounts due under said Doherty

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Guaranty, including attorney's fees and costs incurred in connection with the enforcement of
its rights.

97. After credit for payments received by Washington, as of February 24, 2014 the
amount of $ 108,129.40, excluding attorneys' fees and costs, is due under the X)(r-ZSB Note and
Doherty Guaranty. interest continues to accrue on the unpaid balance of the XX¢iBS Note at
the rate set forth in the XX483 Note.

WHEREFORE, Plaintiff, Washington Federai Bank for Savings respectfully requests that
this Court enterjudgment against Defendant patrick i. Doherty in the amount of$ 108,129.40,
plus-interest accruing from February 24, 2014, through the date of judgment, as well as all
attorneys' fees and costs of enforcing Wa_shington’s rights under the terms of the XX483 Note,

and for such other relief as this Court deems just and reasonable

_ CO UNT Xlii
Breach of Contract

 

NOW COMES Washington Federai Bank for Savings ("Plaintiff" or "Washington”), by and

through its attorneys, Crowley and Lamb, P.C.f and for Count Xlll complains of F & D Services as

follows:

98. Washington adopts and re-alieges the allegations in paragraphs l through 5 as

paragraph 98 of this Count Xiii.

99. On or about Niarch 1, 2011, Washington extended credit to F 81 D Services in the
principai amount of $111,236.84. Said extension of credit was evidenced by a certain
Promissory Note dated March 1, 2011 (the "KX494 Note"). A true and correct copy of the

XX494 Note is attached hereto and made a part hereof as E)chibit 21.

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100. As consideration for the execution ofthe XX494 Note, F & D Services executed a
mortgage, as amended and modified, in favor of Washington which was recorded against real
property commonly known as 7143 W. 107th Street, Units A, B, C, D, Worth, illinois 60482
(”Property"). A true and correct copy of the iviortgage is attached hereto and made a part
hereof as Exhibit 22.

101. Washington complied with and performed all of its duties and obligations
under the terms ofthe XX494 Note.

102. Pursuant to the XX494 Note, F & D Services was to make monthly payments until
such time as the XX494 Note was set to mature on March 1, 2014.

103. That a default occurred under the XX494 Note, based on F & D $ervices’ failure
to pay the real estate taxes when due for the Property for the tax years 2011 and 2012 and for
decertifying the Property and taking same out of the condominium declaration without :
Washington's consent.

104. On February 4, 2014, notice of default was sent to the Mortgagor advising lt of \.'.5
the default and demanding that said defaults be cured on or before February 14, 2014 or ,
Washington would declare the loan immediately payable without further notice. A true and
correct copy of the notice dated February 4, 2014 is attached hereto as Exhibit 23.
Notwithstanding Piaintiff's demand, F & D Servlces failed to cure the default

105. As a result of F & D Services' failure to cure the defau|t, Washington accelerated

the Note claiming ali amounts immediately due and owing under the XX494 Note.

105. After credit for ali payments received by Washington, as of February 24, 2014

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the amount of$ 108,129.40, excluding attorneys' fees and cosis, is due under the XX494 Note.
interest continues to accrue on the unpaid balance of the XX494 Note at the default rate, as set
forth in the X)(494 Note.

107. Under the terms of the XX494 Note, Washington is entitled to recover ali
attorneys' fees and costs, in connection with enforcing its rights under the KK494 Note. 1

108. Based on the foregoing F & D Servlces is in breach under the terms of his
obligation under the XX494 Note and Washington is entitled to recover ali amounts due under
said Note, including attorneys' fees and costs incurred, in connection with the enforcement of
its righG under the XX494 Note.

WHEREFORE, Piaintiff, Washington Federai Bank for Savings respectfully requests that
this Court enterjudgment against Defendant F &'D Services in the amount of $ 108,129.40, plus
interest accruing from February 24, 2014, through the date of judgment, as weil as all
attorneys fees and costs of enforcing Washington's rights under the terms of the }0(494 Note,
and for such other relief as this Court deems just and reasonable

COUNT XlV t
B`reaéb of Guaranty

NOW COi\!iES Washington Federai Bank for Savings l"Plaintiff" or “Washington"), by and

through its attorneys, Crowley and Larnb, P.C., and for Count XiV complains of John Farano, lr.

as follows:

109. Washington adopts and re-alleges the allegations in paragraphs 1 through 5 and

paragraphs 99 through 108 as paragraph 109 of this Count XiV.

110. As consideration for Washington’s agreement to extend credit to F & 0 Services

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then, and in the future, on or about March 1, 2011, Farano executed and delivered to
Washington his continuing unconditional guaranty of payment and performance, whereby he
agreed to pay all amounts due Washington under the XX494 Note by F & D Services {the
"Farano Guaranty"}. A true and correct copy of the Farano Guaranty is attached here an
incorporated as Exhibit ?_4.

111. The Farano Guaranty provides in part that Farano, absolutely and
unconditionally guarantees to Washington, as primary obiigor, to pay all amounts of principal,
interest, fees, charges and other amounts at any time outstanding under the XX49d Note or any
extension, renewal or modification thereof. Based on the terms of the Farano Guaranty,
Farano became obligated to Washington for all amounts due in connection with the XX494

Note.

112. On February 4, 2014, notice of default was sent advising of the default and
demanding that said defaults be cured on or before February 14, 2014 or Washington would
declare the ioan immediately payable without further notice. A true and correct copy of the
notice dated February 4, 2014 is attached hereto as iixhibit 2§. Notwithstanding P|aintiff's
demand, F & D Seryices failed to cure the defaultl

113. Based on the foregoing Farano is in breach under his obligations under the
Farano Guaranty and Washington is entitled to recover all amounts due under said Farano
Guaranty, including attorney's fees and costs incurred in connection with the enforcement of
its rightsl

114. After credit for payments received by Washington, as of February 24, 2014 the

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amount of$ 108,129.40, excluding attorneys' fees and costs, is due under the XX494 Note and
Farano Guaranty. interest continues to accrue on the unpaid balance of the XX494 Note at
the rate set forth in the XX494 Note.

WHEREFORE, Plaintiff, Washington Federai Banic for Savings respectfully requests that
this Court enter judgment against Defendant john Farano, Jr. in the amount of$ 108,129.40,
plus interest accruing from February 24, 2014, through the date of judgment, as well as all
attorneys’ fees and costs of enforcing Washington's rights under the terms of the X)(494 Note,

and for such other relief as this Court deems just and reasonable

COUNT XV
Breach of Guara nty

NOW COMES Washington Federai Bank for Savings ("Piaintiff" or "Washington”), by and
through its attorneys, Crowley and Larnb, P.C., and for Count XV complains of Patricl< .l. Doherty
{”Doherty”} as follows:

115. Washington adopts and re-aileges the allegations in paragraphs 1 through 5 and
paragraphs 99 through 108 as paragraph 115 of this Count XV.

116. As consideration for Washington's agreement to extend credit to F & D Services
then, and in the future, on or about March 1, 2011, Doherty executed and delivered to
Washington his continuing unconditional guaranty of payment and performance, whereby he
agreed to pay all amounts due Washington under the XXASM Note by F & D Services lthe
"Doherty Guaranty”). A true and correct copy of the Doherty Guaranty is attached here an
incorporated as Exhibit 25.

117. The Doherty Guaranty provides in part that Doherty, absolutely and

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unconditionally guarantees to Washington, as primary obiigor, to pay ali amounts of principal,
interest, fees, charges and other amounts at any time outstanding under the XX494 Note or any
extension. renewal or modification thereof. Based on the terms of the Doherty Guaranty,
Doherty became obligated to Washington for all amounts due in connection with the XX494
Note.

118. On February 4, 2014, notice of default was sent advising of the default and
demanding that said defaults be cured on or before February 14, 2014 or Washington would
declare the loan immediately payable without further notice. A true and correct copy of the
notice dated February 4, 2014 is attached hereto as Exhibit 23. Notvvithstanding PlaintifPs

demand, F B¢ D Services failed to cure the default.

119. Based on the foregoing Doherty is in breach under his obligations under the
Doherty Guaranty and Washington is entitled to recover all amounts due under said Doherty
Guaranty, including attorney's fees and costs incurred in connection with the enforcement of
its rights

120. After credit for payments received by Washington, as of February 24, 2014 the
amount of $|108,129.40, excluding attorneys‘ fees and costs, is due under the )0(494 Note and
Doherty Guaranty. interest continues to accrue on the unpaid balance of the XX494 Note at
the rate set forth in the XX494 Note.

WHEREFORE, Plaintiff, Washington Federai Bank for Savings respectfully requests that
this Court enter judgment against Defendant Patrici< J. Doherty in the amount of$ 108,129.40,

plus interest accruing from February 24, 2014, through the date of judgmentJ as well as all

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attorneys' fees and costs of enforcing Washington’s rights under the terms of the XX494 Note,

and for such other relief as this Court deems just and reasonable

count xvi
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NOW COiviES Washington Federai Bani< for Savings ("Plaintii'f" or "Washington”), by and
through its attorneys, Crowley and Lamb, P.C., and for Count XVi complains of F & D Services as
follows:

121. Washington adopts and re-a|leges the allegations in paragraphs l through 5 as

paragraph 121 ofthis Count XV|.

122. On or about Niarch 1, 2011, Washington extended credit to i'- & D Services in the
principal amount of $111,236.84. Said extension of credit was evidenced by a certain
Promissory Note dated Nlarch 1, 2011 (the “XX486 Note"). A true and correct copy of the

XX£iSG Note is attached hereto and made a part hereof as Exhibit 26.

123. As consideration for the execution of the X><486 Note, F & D Services executed a
mortgage, as amended and modified, in favor of Washington which was recorded against real
property commonly known as 7137 \lv`. 107"‘ Street, Units A, B, C, D, WorthJ illinois 60482

i“Property"}. A true and correct copy of the Mortgage is attached hereto and made a part

hereof as Exhibit 27.

 

124. Washington complied with and performed ali of its duties and obligations

under the terms of the XXASS Note.

125. Pursuant to the XX¢iSG Noter F & D Services vvas to make monthly payments until
such time as the KX486 Note was set to mature on iv‘|arch 1, 2014.

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126. That a default occurred under the XX¢iBG Note, based on F & D Services’ failure
to pay the real estate taxes When due for the Property for the tax years 2011 and 2012 and for
decertifying the Property and taking same out of the condominium declaration without
Washington's consent.

127. On February 4, 2014, notice of default was sent to the i\/lortgagor advising it of
the default and demanding that said defaults be cured on or before February 14, 2014 or
Was|'iington would declare the loan immediately payable without further notice. A true and
correct copy of the notice dated February 4, 2014 is attached hereto as Exhibit 23.
Notwithstanding P|aintiff‘s demand, F & DServices failed to cure the defau|t.

128. As a result of F & D $ervices' faiiure to cure the defauit, Washington acceierated
the Note claiming all amounts immediately due and owing under the 20<486 Note.

129. After credit for all payments received by Washlngton, as of February 24, 2014
the amount of $ 108,129.40, excluding attorneys' fees and costs, is due under the XX£iBG Note.
interest continues to accrue on the unpaid balance of the X)(486 Note at the default rate, as set
forth in the >O(-'iSS Note.

130. Under the terms of the X)(485 Note, Washington is entitled to recover ali
attorneys’ fees and costs, in connection With enforcing its rights under the XX486 Note.

131. Based on the foregoing, F & D Services is in breach under the terms of his
obligation under the XX486 Note and Washington is entitled to recover all amounts due under

said Note, including attorneys' fees and costs incurred, in connection with the enforcement of

its rights under the XX486 Note.

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WHEREFORE, Plaintiff, Washington Federai Banic for Savings respectfully requests that
this Court enter judgment against Defendant F & D Services in the amount of $ 108,129.40, plus
interest accruing from February 24, 2014, through the date of judgment, as well as ali
attorneys’ fees and costs of enforcing Washington’s rights under the terms of the XX486 Note,

and for such other relief as this Court deems just and reasonable

COUNT XV||
Breach of Guarant_y'

NOW COMES Washington Federai Bank for Savings i"P|aintifi" or “Washington"), by and
through its attorneys, Crowley and Lamb, P.C., and for Count XV|| compiains of John Farano, ir.
as follows:

132. Washington adopts and re-aileges the allegations in paragraphs 1 through 5 and

paragraphs 122 through 131 as paragraph 132 of this Count XVll.

133. ns consideration for Washington"s agreement to extend credit to F & D Services
then, and in the future, on or about Niarch 1, 2011, Farano executed and delivered to
Washington his continuing unconditional guaranty of payment and performance whereby he
agreed to pay all amounts due Washingi:on under the XX£iSE Note by F & D Services ithe

”Farano Guaranty”). A true and correct copy of the Farano Guaranty is attached here an

incorporated as Exhibit 29. ;

 

134, The Farano Guaranty provides in part that Farano, absolutely and
unconditionally guarantees to Washington, as primary obligor, to pay all amounts of principal,
interest, fees, charges and other amounts at any time outstanding under the >0<486 Note or any

extension, renewal or modification thereof. Based on the terms of the Farano Guaranty,

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Farano became obligated to Washington for all amounts due in connection with the XX485
Note.

135. On February 4, 2014, notice of default was sent advising of the default and
demanding that said defaults be cured on or before February 14, 2014 or Washlngton Would
declare the loan immediately payable without further notice. A true and correct copy of the
notice dated February 4, 2014 is attached hereto as Exhibit 28. Notwithstanding P|aintiff's
demand, i-' & D Services failed to cure the default

136. Based on the foregoing Farano is in breach under his obligations under the
Farano Guaranty and Washington is entitled to recover all amounts due under said Farano
Guaranty, including attorney's fees and costs incurred in connection with the enforcement of
its rights.

137. After credit for payments received by Washington, as of February 24, 2014 the
amount of $ 103,129.40, excluding attorneys’ fees and custs, is due under the XX486 Note and
Farano Guaranty. interest continues to accrue on the unpaid balance of the XX486 Note at
the rate set forth in the XXASS Note.

WHEREFORE, Piaintiff, Washington Federai Banl< for Savings respectfully requests that
this Court enter judgment against Defendant John Farano, Jr. in the amount of$ 108,129.40,
plus interest accruing from February 24, 2014, through the date of judgment, as well as ali
attorneys’ fees and costs of enforcing Washington's rights under the terms of the XX486 Note,
and for such other reiief as this Court deems just and reasonable

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NOW COMES Washington Federai Bank for Savings {"Plaintiff” or “Washington"i, by and

through its attorneys, Crowley and i.amb, P.C., and for Count XViii complains of patrick .l.
. Doh erty (“Doherty"} as foilows:

138. Washington adopts and re-aileges the aiiegations in paragraphs 1 through 5 and
paragraphs 122 through 131as paragraph 138 of this Count XVlll.

1391 AS consideration for Washington's agreement to extend credit to F & D Services
then, and in the future, on or about Nlarch 1, 2011, Doherty executed and delivered to
Washington his continuing unconditional guaranty of payment and performance, whereby he
agreed to pay all amounts due Washington under the XX486 Note by F & D Services (the
“Doherty Guaranty"}. A true and correct copy of the Doherty Guaranty is attached here an
incorporated as Exhil:sit 30.

140. The Doherty Guaranty provides in part that Doherty, absolutely and
unconditionally guarantees to Washington, as primary obligor, to pay ali amounts of principal,
interest, fees, charges and other amounts at any time outstanding under the XX486 Note or any
extension, renewal or modification thereof. Based on the terms of the Doherty Guaranty,
Doherty became obligated to Washington for ali amounts due in connection with the XX486
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141. On February 4, 2014, notice of default was sent advising of the default and
demanding that said defaults be cured on or before February 14, 2014 or Washlngton would
declare the loan immediately payable without further notice. A true and correct copy of the

notice dated February 4, 2014 is attached hereto as Exhlbit 28. Notwithstanding Piaintlff's

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demand, i-' & DServices failed to cu re the default

142. Based on the foregoing Doherty is in breach under his obligations under the
Doherty Guaranty and Washington is entitled to recover all amounts due under said Doherty
Guaranty, including attorney's fees and costs incurred in connection with the enforcement of
irs rights

143. After credit for payments received by Washington, as of February 24, 2014 the
amount of$ 108,129.40, excluding attorneys’ fees and costs, is due under the XX486 Note and
Doherty Guaranty. interest continues to accrue on the unpaid balance ofthe XX486 Note at
the rateset forth in the XX486 Note.

WHEREFORE, Piaintiff, Washington Federai Bank for Savings respectfully requests that

_ this Court enter judgment against Defendant Patrick i. Doherty in the amount of$ 108,129.40,

plus interest accruing from February 24, 2014, through the date of judgment, as weii as ali
attorneys' fees and costs of enforcing Washington’s rights under the terms of the XX486 Note,

and for such other relief as this Court deems just and reasonable ;;

COUNT XiX
Breach of Contract

NOW COMES Washington Federai Banl< for Savings ("Plaintif " or "Washington"), by and
through its attorneys, Crowley and LambJ P.C., and for Count Xi>( complains of F & D Services as
follows:

144. Washington adopts and re»alleges the allegations in paragraphs 1 through 5 as

paragraph 144 of this Count XlX.

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145. On or about lViarch 1, 2011, Washington extended credit to F & D Services in the
principal amount of $123,342.50. Saici extension of credit was evidenced by a certain
Promissory Note dated iv‘iarch 1, 2011 {the "XX£i?B Note"]. A true and correct copy of the

XX478 Note is attached hereto and made a part hereofas Exhibit 31.

146. As consideration for the execution of the XX478 Note, F & D Services executed a
mortgage, as amended and modified, in favor of Washington which was recorded against real
property commonly known as 7135 W. 107"‘ Street, Units A, B, C, D, Worth, illinois 60482

(“Property"}. A true and correct copy of the Niortgage is attached hereto and made a part

hereof as Exhlbit 32.

 

147 Washington complied with and performed ali of its duties and obligations

under the terms of the )CX478 Note.

148. Pursuant to the XX478 Note, F & D Services was to make monthly payments until

such time as the XXAYB Note was set to mature on Niarch 1, 2014.

149. That a defauit occurred under the XX¢')'B Note, based on F & D Services' failure
to pay the real estate taxes when due for the Property for the tax years 2011 and 2012 and for
decertifying the Property and taking same out of the condominium declaration without
Washington's consent.

150. On Fel:)ruary 4, 2014, notice of default was sent to the lyiortgagor advising it of
the default and demanding that said defaults be cured on or before February 14, 2014 or
Washington would declare the loan immediately payable without further notice. A true and

correct copy of the notice dated February 4, 2014 is attached hereto as Exhibit 33.

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Notwithstanding Plaintiff's demand, F & D Services failed to cure the defau|t.

151. As a result of F & D Services' failure to cure the default, Washington accelerated
the Note claiming ali amounts immediately due and owing underthe XX4`?B Note.

152. After credit for all payments received by Washing'ton, as of February 24, 2014
the amount of $ 124,629.44, excluding attorneys' fees and costs, is due under the X)(478 Note.
interest continues to accrue on the unpaid balance of the XX¢?S Note at the default rate, as set
forth in the XXA?B Note.

153. Under the terms of the XX478 Note, Washington is entitled to recover all
attorneys' fees and costs, in connection with enforcing its rights under the XX478 Note.

`154. Based on the foregoing, F & D Services is in breach under the terms of his
obligation under the XX478 Note and Washington is entitled to recover ali amounts due under
said Note, including attorneys’ fees and costs incurred, in connection with the enforcement of
its rights under the XX478 Note.

WHEREFORE, F'iaintiff, Washington Federai Banic for Savings respectfully requests that
this Court enterjudgment against Defendant F & D Services in the amount of$ 124,629.44, plus
interest accruing from Fet)ruary 24, 2014, through the date of judgmentl as well as ali
attorneys’ fees and costs of enforcing Washington's righw under the terms of the XX478 Note,
and for such other relief as this Court deems just and reasonable.

COUNT XX
Breach of Guaranty

NOW COMES Washington Federai Bank for Savings (“P|aintiff" or "Washington”], by and

through its attorne\,rsl Crowley and Lam|:), P.C., and for Count XX complains ofJohn Farano, Jr. as

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follows:

155. Washington adopts and re-aileges the allegations in paragraphs 1 through 5 and
paragraphs 145 through 154 as paragraph 155 of this Count XX.

156. As consideration for Washington's agreement to extend credit to F & D Services
then, and in the future, on or about Niarch 1, 2011, Farano executed and delivered to
Washington his continuing unconditional guaranty of payment and performance, whereby he
agreed to pay all amounts due Washington under the XXA»TB Note by F & D Services {the

"Farano Guaranty”]. A true and correct copy of the Farano Guaranty is attached here an

incorporated as Exhibit 34.

 

"15?. The Farano Guaranty provides in part that Farano, absolutely and
unconditionally guarantees to Washington, as primary obligor, to pay ali amounts of principai,
interest,‘ fees, charges and other amounts at any time outstanding under the XX478 Note or any
extension, renewal or modification thereof. Based on the terms of the Farano Guaranty,
Farano became obligated to Washington for all amounts due in connection with the XX478
Note.

158. jon February 4, 2014, notice of default was sent advising of the default and
demanding that said defaults be cured on or before February 14, 2014 or Washington would
declare the loan immediately payable without further notice. A true and correct copy of the
notice dated February 4, 2014 is attached hereto as Exhiblt 33. Notwithstanding P|aint|ff's

demand, F & D Services failed to cure the default

159. Based on the foregoing Farano is in breach under his obligations under the

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Farano Guaranty and Washington is entitled to recover ali amounts due under said Farano
Guaranty, including attorney’s fees and costs incurred in connection with the enforcement of
its rights.

160. After credit for payments received by Washington, as of February 24, 2014 the
amount of 5 124,629.44, excluding attorneys’ fees and costs, is due under the XX478 Note and
Farano Guaranty. interest continues to accrue on the unpaid balance of the XX478 Note at
the rate set forth in the XX478 Note.

WHEREFORE, Plaintiff, Washington Federai Bank for Savings respectfully requests that
this Court enter judgment against Defendant John Farano, Jr. in the amount of $ 124,629.44,
plus interest accruing from February 24, 2014, through the date of judgment, as well as all
attorneysl fees and costs of enforcing Washington’s rights under the terms of the )0<478 Note,
and for such other relief as this Court deems just and reasonable

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NOW COMES Washington Federai Bank for Savings (“Piaintiff" or “Washington"i, by and

through its attorneys, Crowley and Lamb, P.C., and for Count XX| complains.of i>atricl< J. Doherty

("Doherty”} as follows:

161. Washington adopts and re-al|eges the allegations in paragraphs 1 through 5 and

paragraphs 145 through 154 as paragraph 161 ofthis Count XXi.
162. As consideration for Washington’s agreement to extend credit to F & D Services
then, and in the future, on or about March 1, 2011, Doherty executed and delivered to

Washington his continuing unconditional guaranty of payment and performance, whereby he

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agreed to pay all amounts due Washington under the >(X47B Note by F & D Services (the
"Doherty Guaranty”). A true and correct copy of the Doherty Guaranty is attached here an
incorporated as E)ihiblt 35. d

163. The Doherty Guaranty provides in part that Doherty, absolutely and
unconditionally guarantees to Washington, as primary obligor, to pay all amounts of principai,
interest, fees, charges and other amounts at any time outstanding under the XX473 Note or any
extension, renewal or modification thereof. Based on the terms of the iDoherty Guaranty,,
Doherty became obligated to Washington for all amounts due in connection vvith the X>UUB

Note.

164: On February 4, 2014, notice of default was sent advising of the default and
demanding that said defaults be cured on or before February 14, 2014 or Washington would
declare the loan immediately payable vvithout further notice. A true and correct copy of the
notice dated February 4, 2014 is- attached hereto as E)chibit 33. Notw'rthstanding Plaintiff’s

demand, F & D Services failed to cure the default

155. Based on the foregoingl Doherty is in breach under his obligations under the
Doherty Guaranty and Washington is entitled to recover all amounts due under said Doherty
Guaranty, including attorney's fees and costs incurred in connection with the enforcement of
its rights.

166. After credit for payments received by Washington, as of February 24, 2014 the
amount of 5124,629.44, excluding attorneys‘ fees and costs, is due under the XX478 Note and

Doherty Guaranty. |nterest continues to accrue on the unpaid balance of the XX47B Note at

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the rate set forth in the XX47S Note.

WHEREFORE, P|aintiff, Washington Federai dank for Savings respectfully requests that
this Court enterjudgment against Defendant Patricl< J. Doherty in the amount of$ 124,629.44,
plus interest accruing from February 24, 2014, through the date of judgment, as well as all
attorneys' fees and costs of enforcing Washington's rights under the terms of the XX478 Note,

and for such other relief as this Court deems just and reasonable

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Breach of Contract

 

NOW COlViES Washington Federai Bank for Savings (“Plaintiff" or "Washington"}, by and
through its attorneys, Crowley and tamb, P.C., and for Count X>(il complains of F & D Services as
follows:

167. Washington adopts and re-alleges the allegations in paragraphs 1 through 5 as
paragraph 167 of this Count XXll.

168. On or about lViarch 1, 2011, Washington extended credit to F & D Services in the
principal amount of $111,236.84. Said extension of credit was evidenced by a certain
Promissory Note dated i\flarch l, 2011 (the “X)t¢ib'O Note”). A true and correct copy of the
XX460 Note is attached hereto and made a part hereof as Exhibit 36.

169. As consideration for the execution of the XX4EO Note, F & D Services executed a
mortgage, as amended and modified, in favor of Washing'ton which was recorded against real
property commonly known as 7131 W. 107"‘ Street, Units A, B, C, D, Wor'th, illinois 60482

(”Property"}. A true and correct copy of the I\/lortgage is attached hereto and made a part

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hereof as Exhibit 37.

170. Washington complied with and performed all of its duties and obligations
under the terms of the XX460 Note.

171. Pursuant to the XX460 Note, F & D Services was to make monthly payments until
such time as the XX4E30 Note was set to mature on March 1, 2014.

172. That a default occurred under the >CX¢SO Note, based on F & D Services' failure
to pay the real estate taxes when due for the Property for the tax years 2011 and 2012 and for
decertifying the Property and taking same out of the condominium declaration without
Washington's consent

173. On February 4, 2014, notice of default was sent to the l'viortgagor advising it of
the default and demanding that said defaults be cured on or before February 14,*‘2014 or
Washington would declare the loan immediately payable without further notice. A true and
correct copy of the notice dated February £i, 2014 is attached hereto as E>thibit 38.
Notwithstanding Plaintiff's demand, F & D 5ervices failed to cure the defauit.

174. As a result of F & D Services’ failure to cure the defauit, Washington accelerated
the Note claiming ali amounts immediately due and owing under the XX460 Note.

175. After credit for ali payments received by Washington, as of February 24, 2014
the amount of $ 108,176.40, excluding attorneys‘ fees and costs, is due under the XX460 Note.
interest continues to accrue on the unpaid balance ofthe )(X460 Note at the default rate, as set

forth in the XX460 Note.

176. Under the terms of the }0(460 Note, Washington is entitled to recover all

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attorneys' fees and costs, in connection with enforcing its rights under the XX450 Note.

177. Based on the foregoing F & D Services is in breach under the terms of his
obligation under the XX¢iBO Note and Washington is entitled to recover ali amounts due under
said Note, including attorneys’ fees and costs incurred, in connection with the enforcement of
its rights underthe XX460 Note.

WHEREFORE, Plaintiff, Washington Federai Banl< for Savings respectfully requests that
this Court enterjudgment against Defendant F & D Services in the amount of$ 103,176.40, plus
interest accruing from February 24, 2014, through the date of judgment, as well as all
attorneys1 fees and costs of enforcing Washington’s rights under the terms of the XX460 Note,

and for such other relief as this Court deems just and reasonable

COUNT XXlii
Brea_ch of Guarant'y-'

NOW CO|ViES Washington Federai Banlc for Savings (“Plaintiff" or "Washington"), by and
through its attorneys, Crowley and Lamb, P.C., and for Count Xxiii complains ofiohn Farano, Jr.
as follows:

178. Washington adopts and re-alieges the allegations in paragraphs 1 through 4 and
paragraphs 168 through 177 as paragraph 178 of this Count XXlli.

179. As consideration for Washington’s agreement to extend credit to F & D Services
thenL and in the future, on or about March 1, 2011, Farano executed and delivered to
Washington his continuing unconditional guaranty of payment and performance, whereby he
agreed to pay all amounts due Washington under the XXAEO Note by F & D Services lthe

"Farano Guaranty"). A true and correct copy of the Farano Guaranty is attached here an

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incorporated as Exhibit 35.

180. The Farano Guaranty provides in part that Farano, absolutely and
unconditionally guarantees to Washington, as primary obligor, to pay ai| amounts of principa|,
interest, fees, charges and other amounts at any time outstanding under the XX460 Note or any
extension, renewal or modification thereof. Based on the terms of the Farano Guaranty,
Farano became obiigated to Washington for ali amounts due in connection with the XX/~iSO
Note.

181. On February 4, 2014, notice of default was sent advising of the default and
demanding that said defaults be cured on or before February 14, 2014 or Washington would
declare the loan immediately payable without further notice. A true and correct copy of the
notice dated February 4, 2014 is attached hereto as E)rhibit 38. Notwithstanding Plaintiff's
'dernand, F & D Services failed to cure the defauit.

182. Based on the foregoing Farano is in breach under~his obiigations under the
Farano Guaranty and Washington is entitled to recover ali amounts due under said Farano
Guaranty, including attorney's fees and costs incurred in connection with the enforcement of
its rights

183. After credit for payments received by Washington, as of February 24, 2014 the
amount of $ 108,176.40, excluding attorneys' fees and costs, is due under the XXA€O Note and
Farano Guaranty. interest continues to accrue on the unpaid balance of the XX460 Note at

the rate set forth in the XX460 Note.

Wi-iEREFCJRlEJ Piaintiff, Washington Federai Banl< for Savings respectfuliy requests that

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this Court enter judgment against Defendant john Farano, Jr. in the amount of $ 108,176.40,
plus interest accruing from February 24, 2014, through the date of judgment as well as all
attorneys’ fees and costs of enforcing Washington’s rights under the terms of the XX460 Note,

and for such other relief as this Court deems just and reasonable

COUNT XXiV
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NOW COMES Washington Federai Bani< for Savings [“Piaintiff’l or "Washington"), by and
through its attorneys, Crowley and Lamb, P.C., and for Count XX|V complains of Patrick J. t '
Doherty (”Doherty") as foiiows:

184, Washington adopts and re-alleges the allegations in paragraphs 1 through 4 and
paragraphs 158 through 177 as paragraph 184 of this Count XXi\/.

185. As consideration for Washington's agreement to extend credit to F & D Services
then, and in the future, on or about i'yiarch 1, 2011, Doherty executed and delivered to
Washington his continuing unconditionai guaranty of payment and performance, whereby he
agreed to pay aii amounts due Washington under the KX460 Note by F & D Services (the
"Doherty Guaranty”). A true and correct copy of the Doherty Guaranty is attached here an
incorporated as E)thihit 40.

186. The Doherty Guaranty provides in part that Doherty, absolutely and `
unconditionally guarantees to Washington, as primary obligor, to pay all amounts of principa|, l
`interest, fees, charges and other amounts at anytime outstanding under the XX460 Note or any
extension, renewal or modification thereof. Based on the terms of the Doherty Guaranty,

Doherty became obligated to Washington for ali amounts due in connection with the XX460

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Note.

187. On February 4, 2014, notice of default was sent advising of the default and
demanding that said defaults be cured on or before February 14, 2014 or Washington would
declare the loan immediately payable without further notice. A true and correct copy of the
notice dated February 4, 2014 is attached hereto as E)rhibit 38. i\iotwithstanding Plaintiff’s
demand, F & 0 Services failed to cure the default

188. Based on the foregoing, Doherty is in breach under his obligations under the
Doherty Guaranty and Washington is entitled to recover all amounts due under said Doherty
Guaranty, including attorney's fees and costs incurred in connection with the enforcement of
its rights.

189- After credit for payments received by Washington, as of February 24, 2014 the
amount of'$108,176.40, excluding attorneys' fees and costs, is due under the X)(460 Note and
Doherty Guaranty. interest continues to accrue on the unpaid balance of the XX460 Note at
the rate set forth in the XX4EO Note.

WHEREFORE, Piaintiff, Washington Federai Bank for Savings respectfuiiy requests that
this Court enter judgment against Defendant Patrick .l. Doherty in the amount of$ 108,175.40,
plus interest accruing from February 24, 2014, through the date of judgmentl as well as ai|
attorneys’ fees and costs of enforcing Washington's rights under the terms of the XX460 Note,
and for such other relief as this Court deems just and reasonable

COUNT XXV
Breach of Contract

NOW COi\/iES Washing'ton Federai Bank for Savings (“Plaintiff" or "Washington"), by and

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through its attorneys, Crowley and Lamb, P.C., and for Count XXV complains of Worth
Conversion, LLC (”Worth") as follows:

190. Washington adopts and rla-alleges the allegations in paragraphs 1 through 5 as
paragraph 190 of this Count XXV.

191. On lor about iViay 5, 2008, Washington extended credit to Worth in the principal
amount of $500,500.00. Said extension of credit was evidenced by a certain Promissory Note
dated Niay 5, 2003 and was amended by a certain E)ctension of Note dated iViay 1, 2010. The
Promlssory Note and Extension to Note are collectively hereinafter the ”XXS'/‘Z Note” (True and
correct copy of the XX972 Note is attached hereto and made a part hereof as E)thibit 41.}

192. As consideration for the execution of the XX972 Note, Worth executed a ;
mortgage, as amended and modified, in favor of Washington which was recorded against real
property commonly known as 7125-31 W. 107"‘ Street, Worth, illinois 60432 ["Proper'ty”). A
true and correct copy of the i\/iortgage is attached hereto and made a part hereof as Exhiblt 42.

193. Washington compiied with and performed all of its duties and obligations
under the terms of the XX972 Note. f

194. Pursuant to the XX972 Note, Worth Was to make monthly payments until such
time as the XX972 Note was set to mature on iviarch 1, 2014.

195. That a default occurred under the XXB?Z Note, based on Worth' failure to pay
the real estate taxes when due for the Property for the tax years 2011 and 2012 and for
decertifying the Property and taking same out of the condominium declaration without y

Washington's consent

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196. On February 4, 2014, notice of defauit was sent to the iviortgagor advising it of
the default and demanding that said defaults be cured on or before February 14, 2014 or
Washington would declare the loan immediately payable without further notice. A true and
correct copy of the notice dated February 4, 2014 is attached hereto as Exhibit 43.
Notwithstanding Plaintifi’s demand, Worth failed to cure the default

1972 As a result of Worth' failure to cure the defauit, Washington accelerated the
Note claiming all amounts immediately due and owing under the XX972 Note.

198. After credit for all payments received by Washington, as of February 24, 2014
the amount of $218,046.14, excluding attorneys’ fees and costs, is due under the XX972 Note.
interest continues to accrue on the unpaid balance of the XX972 Note at the default rate, asset
forth in the XXB'/Z Note.

199. Under the terms of the XX972 Note, Washington is entitled to recover .al|
attorneys' fees'and costs, in connection with enforcing its rights under the XX972 Note.

200. Based on the foregoing, Worth is in breach under the terms of his obligation
under the XXQ'!Z Note and Washington is entitled to recover all amounts due under said Note,
including attorneys' fees and costs incurred, in connection with the enforcement of its rights
under the )(XB`/`Z Note.

W|-!EREFORE, P|aintiff, Washington Federai Bank for Savings respectfully requests that
this Court enter judgment against Defendant Worth in the amount of $ 218,046.14, plus
interest accruing from February 24, 2014, through the date of iudgment, as weil as all

attorneys’ fees and costs of enforcing Washington’s rights under the terms of the XX972 Note,

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and for such other relief as this Court deems just and reasonable

COUNT XXV|
Breach of Guaranty

NOW CO|V|ES Washington Federai Bank for Savings ("Plaintiff" or "Washington"], by and
through its attorneys, Crowley and Larnb, P.C., and for Count XX|il complains of John Farano, Jr.
as follows:

201. Washington adopts and re-al|eges the allegations in paragraphs 1 through 5 and
paragraphs 191 through 200 as paragraph 201 ofthis Count XXi|l.

202. As consideration for Washington’s agreement to extend credit to Worth then,
and in the future, on or about Apri| 17, 2005, Farano executed and delivered to Washington his
continuing unconditional guaranty of payment and performance whereby he agreed to pay all
amounts due Washington under the Xi(972 Note by Worth [the ”Farano Guaranty“]. A true
and correct copy of the Farano Guaranty is attached here an incorporated as Exhibit 44.

203. The Farano Guaranty provides in part that Farano, absolutely and
unconditionaliy guarantees to Washington, as primary obligor, to pay all amounts of principai,
interest, fees, charges and other amounts at any time outstanding under the XXB`?Z Note or any
extension, renewal or modification thereof. Based on the terms of the Farano Guaranty,-
Farano became obligated to Washington for all amounts due in connection with the XX972
Note.

204. On February 4, 2014, notice of default was sent advising of the default and
demanding that said defaults be cured on or before February 14, 2014 or Washington Wou|d

declare the loan immediately payable without further notice. A true and correct copy of the

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notice dated February 4, 2014 is attached hereto as Exhibit 43. Notwithstanding Piainttff's
demand, Worth failed to cure the default

205. Based on the foregoing, Farano is in breach under his obligations under the
Farano Guaranty and Washington is entitled to recover all amounts due under said Farano
Guaranty, including attorney's fees and costs incurred in connection with the enforcement of
its rlghts.

206. After credit for payments received by Washington, as of February 24, 2014 the
amount of$ 218,045.14, excluding attorneys' fees and costs, is due under the )0<972 Note and
Farano Guaranty. interest continues to accrue on the unpaid balance of the XXB?Z Note at
the rate set forth in the XXQ?Z Note.

WHEREFORE, Plaintiff, Washington Federai Bani< for Savings respectfully requests that
this Court enter judgment against Defendant John Farano, _lr. in the amount of$ 218,046.14,
plus interest-accruing from February 24, 2014, through the date of judgment, as weil as all
attorneys' fees and costs of enforcing Washington's rights under the terms of the XX972 Note,
and for such other relief as this Court deemsjust and reasonablel

COUNT XXVII
Br`each of Guarant

NOW COMES Washington Federai Ban|< for Savings ("Piaintiff" or "Washington"), by and
through its attorneys, Crowley and Lamb, P.C., and for Count X>ClV complains of Patrici< j.
Doherty {”Doherty”) as follows:

207. Washington adopts and re-alleges the allegations in paragraphs 1 through 5 and

paragraphs 191 through 200 as paragraph 207 of this Count XXiV.

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208. As consideration for Washington's agreement to extend credit to Worth then,
and in the future, on or about April 17, 2006, Doherty executed and delivered to Washington
his continuing unconditional guaranty of payment and performancer whereby he agreed to pay
all amounts due Washington under the XX§?Z Note by Worth (the ”Doherty Guaranty”}. A
true and correct copy of the Doherty Guaranty is attached here an incorporated as Exhibit 45.

209. The Doherty Guaranty provides in part that Doherty, absolutely and
unconditionally guarantees to Washington, as primary obligor, to pay all amounts of principalJ
interest, fees, charges and other amounts at any time outstanding under the XXQ?Z Note or any
extension, renewal or modification thereof. Based on the terms of the Doherty Guaranty,
Doherty became obligated to Washington for all amounts due in connection with the XX972

Note.

210. ‘On February 4, 2014, notice of default was sent advising of the default and
demanding that said defaults be cured on or before February 14, 2014 or Washington would
declare the loan immediately payable without further notice. A true and correct copy of the
notice dated February 4, 2014 is attached hereto as Exhibit 43. Notwithstanding Plaintiff‘s
demand, Worth failed to cure the default

211. Based on the foregoing Doherty is in breach under his obligations under-the
Doherty Guaranty and Washington is entitled to recover all amounts due under said Doherty
Guaranty, including attorney's fees and costs incurred in connection with the enforcement of
its rights.

212. After credit for payments received by Washington, as of February 24, 2014 the

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amount of $218,0!¢6.14, excluding attorneys’ fees and costs, is due under the XXS?Z Note and
Doherty Guaranty. interest continues to accrue on the unpaid balance of the XXQ?Z Note at
the rate set forth in the XX972 Note.

WHEREFORE, Piaintiff, Washington Federai Banl< for Savings respectfully requests that
this Court enter judgment against Defendant Patrick l. Doherty in the amount of $ 218,046.14,
plus interest accruing from February 24, 2014, through the date of judgment, as well as all
attorneys’ fees and costs of enforcing Washington’s rights under the terms of the XXB?Z Note,

and for such other relief as this Court deems just and reasonable

Respectful!y Sul:)mitted,

Washington Federai Banl< for Savings

 

 

.larnes lVl. Crowley

Christopher S. Fowler

CROWLEY & LAMB, P.C.

221 N. La$alle Street, Suite 1550
Chicago, lliinois 60601

{3 12) 670-6900

Attorney NO. 41373

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EXhibit “B”

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IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT - LAW DIVISION

WA`snINGToN FEDERAL BANK
roe sAVINGS,

Plar'nrzjj”,
yS. No. 2014 L 2411

Corpora.tion; WORTH
CONVERSION, LLC, an Illinois
Limited Liability Company; JO}EIN
FARANO, JR.; and PATRICK J.

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F & D SERVICES, INC., an Illinois )
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Defendoni.

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NOW COMES, the Defendant’s, by and through their attorney, Patrick J, Doherty, in

.Rcsponse to Pla_intiff’s Complaint at Law, states as follows:

1. Dofcndant`s admit the allegations contained in paragraph one (1} of Plaiotiff’s

Complaint at Law.

2. Defendant’s deny the allegations contained in paragraph two (2) of Piaintiff’s

Complaint at Law.

3. Defendant's deny the allegations contained in paragraph three {3} of Plaintiff’s
Complaint at Law.
4. Defendant’s admit the allegations contained in paragraph four (4) of Plaintiff’s

Complaint at Law.

5. Defendant’s admit the allegations contained in paragraph five {5) of Plaintiff’s

Complaint at Law_

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WHEREFORE, Defendant’s, respectfully requests that the Plaintiff’s Complaint at Law

be dismissed and costs and attorney’s fees he awarded to Defendants.

COUNT ’XX`V
BREACH OF CONTRAC'I`

NOW COMES, the Defendant’s, by and through their attorney. Patricl< J. Doherty, in

Response to Plaintiff’s Complaint at Law, states as follows:

190. Defendant’s deny the allegations contained in paragraph one hundred ninety (190)

of Plaintift`s Complaint at Law.

191. Defendant’s deny the allegations contained in paragraph one hundred ninety-one

(191) of Plaintiff‘s Complaint at Law.

191 Defendant’s deny the allegations contained in paragraph one hundred ninety-two
(192} of P]aintiff’s Complaint at Law.

193. Defendant’s deny the allegations contained in paragraph one hundred ninety-three
(193) of Plaintiff's Complaint at Law.

194. Defendant’s deny the allegations contained in paragraph one hundred ninety-four
(194) of Plaintiff’s Complaint at Law.

195. Defendant’s deny the allegations contained in paragraph one hundred ninety-five

(195) of Plaintiff’s Complaint at Law.

196. Defendanl's deny the allegations contained in paragraph one hundred ninety-six

(196) of Plaintiff’s Complaint at Law.

19_7. Defendant’s deny the allegations contained in paragraph one hundred ninety-seven

(197) of Plaintiff’s Complaint at Law.

193. Defendant’s deny the allegations contained in paragraph one hundred ninety-eight

(198) of Plaintiff’s Complaint at Law.

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199. Defendant‘s deny the allegations contained in paragraph one hundred ninety-nine
(199) of Plaintiff’s Complaint at Law.

200. Defendant’s deny the allegations contained in paragraph two hundred {200) of
Plaintitt’ s Complaint at Law.

WHEREFORE, Defendant’s, respectfully requests that the Plaintiff’s Complaint be
dismissed and costs and attorney’s fees be awarded to DefendanL

COUN.T XXVII
BREACH OF CONTRACT

NOW COMES, the Defendant’s. by and through their attorney, Patricl< J. Doherty, in

Response to PlaintiH’s Complaint at Law, states as follows:

207. Defendant‘s deny the allegations contained in paragraph two hundred and seven
[207) of Plaintiff’s Complaint at Law.

208. Defendant’s deny the allegations contained in paragraph two hundred and eight
(208) of Plaintift"s Complaint at Law.

209. Defendant’s deny the allegations contained in paragraph two hundred a.nd nine
(209) of Piaintiff’s Complaint at Law.

210. Defendant’s deny the allegations contained in paragraph two hundred and ten
(210) of Plaintift"s Complaint at Law.

211. Defendant’s deny the allegations contained in paragraph two hundred eleven (2]1}

of Plaintifi’s Complaint at Law.

212. Defendant's deny the allegations contained in paragraph two hundred twelve
(212) of Plaintiff’$ Complaint at Law.

WI-[EREFORE, Defendant’s_ respectfully requests that the Plaintiff’s Complaint he

dismissed and costs and attorney’s fees be awarded to Defendant.

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AFFIRMATIVE DEFENSES

1. The Plaintiff without Defendant’s consent executed documents to extend the loan

and charge loan origination fees and an interest rate that was not agreed upon by the parties

2. The Plaintiff called due the loan prior to expiration without any missed payments

or good cause, for a loan in good standing.

3. The Plaintiff through its attorney overcharged and filed multiple foreclosures

against Defendants to cause the Defendants to incur unreasonable charges

4. The Plaintiff has failed to tender an itemized breakdown of loans repaid within
thirty (30) days despite numerous requests which is in violation of the Fair Debt and Collection
Act, as `well as, violation of Federai lending Laws.

_Attorney for Defendant

  

 

BY:

 

naj'.'ttrérti. ooHna'rY

PATRICK .}'. DOHERTY
Attorney at Law

Attorney for Dcfondant

7326 West 103“1.311@@:

Palos Hills, Illinois 60465
Telephone No: (?GS) 598-6626
Facsimile No: (708) 598-3‘7'."8

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EXhibit “C”

